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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


Carol Cantwell, Jae Jones, Jenny Rossano,           Case No. 1:20-cv-03739
Diana Tait, Michelle Ingrodi, Cindy Peters,
Debra French, Kaye Mallory, Connie Sandler,         (Related to MDL No. 2909 and
David Rothberg, Karai Hamilton, Arnetta             Lead Case No. 1:19-cv-03924-RMD-MDW
Velez, Christina Parlow, Demetrios Tsiptsis,        assigned to the Honorable Robert M. Dow, Jr.)
and Terri Birt, individually and on behalf of all
others similarly situated,

                           Plaintiffs,

              v.

The Coca-Cola Company; fairlife, LLC; Mike
McCloskey; Sue McCloskey; and, Select Milk
Producers, Inc.

                           Defendants.



                                 CLASS ACTION COMPLAINT

                                  DEMAND FOR JURY TRIAL
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         Plaintiffs Carol Cantwell, Jae Jones, Jenny Rossano, Diana Tait, Michelle Ingrodi, Cindy

Peters, Debra French, Kaye Mallory, Connie Sandler, David Rothberg, Karai Hamilton, Arnetta

Velez, Christina Parlow, Demetrios Tsiptsis, and Terri Birt (collectively, “Plaintiffs”),

individually, and on behalf of all others similarly situated (the “Class,” as defined below), bring

this Class Action Complaint against Defendants The Coca-Cola Company (“Coca-Cola”),

fairlife, LLC (“fairlife”), Mike McCloskey and Sue McCloskey (the “McCloskeys” or the

“McCloskey Defendants”), and Select Milk Producers, Inc. (“Select Milk”)1 (collectively,

“Defendants”). Plaintiffs base the allegations below on personal knowledge as to their own acts,

and upon information and belief and the investigation of their attorneys as to all other matters,

and allege as follows:

                                   NATURE OF THE ACTION

         1.      Defendants charge a premium for milk Products2 branded under the name

“fa!rlife” that promise the humane treatment of dairy cows. Defendants’ branding and promises

are designed specifically to target consumers who are willing to pay more to ensure that the

livestock used to create those Products are treated ethically and humanely. Unfortunately for

consumers, this is not true.

         2.      Fairlife Products are purportedly sourced from farms operating under a collective

which purports to ensure that its dairy cows are treated with “extraordinary animal care and

comfort.”3 The collective—Select Milk—was formed by Defendants Mike and Sue McCloskey


1
    Together, Coca-Cola, fairlife, and Select Milk are the “Coke Defendants.”
2
 As described herein, Products refer to fairlife-branded packaged dairy goods sold nationwide.
The labels of the different varieties of Products are substantially similar in the representations
made to consumers ensuring the ethical treatment of the dairy cows used to create the Products.
3
    About Select Milk Producers, https://www.selectmilk.com/ (last visited June 18, 2020).



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in 1994. Select Milk and Coca-Cola later created fairlife as a joint venture in 2012, with

fairlife’s foundation purportedly being centered on responsible farming practices, and treating

“[fairlife’s] cows better to help them produce the highest-quality milk possible.”4 A guiding

principle, according to founder and Defendant Mike McCloskey, is “the better you treat an

animal, the happier and more productive she is. It’s a symbiotic relationship.”5

           3.     These principles are reflected in the promises that Defendants make to the

consumers who purchase the fairlife Products. Defendants represent that their Products help

“make the world a better place” through a number of “promises” on the labels of the Products

themselves, including the name of the product itself – fairlife – and the following:

           Extraordinary care and comfort for our cows; Exceptional quality milk
           standards; Traceability back to our farms; Continual pursuit of sustainable
           farming.

           4.     Defendants explicitly represent to consumers, inter alia, that animals associated

with generating the milk used in the Products are treated in a more humane, comfortable, and

compassionate manner that exceeds standard industry practices—in short, that they are given

“extraordinary” care.

           5.     The very name of the brand, “fa!rlife,” along with the pervasive marketing

scheme reflected in the packaging and labeling of the Products deceives and misleads reasonable

consumers into believing that the animals that produce the milk used in the Products are treated

fairly and humanely.



4
  From Staple to Superfood: How fairlife’s Belief in Better Milk is Shaking Up the Dairy
Category, Coca-Cola (Feb. 3, 2015), https://www.einpresswire.com/article/247897642/from-
staple-to-superfood-how-fairlife-s-belief-in-better-milk-is-shaking-up-the-dairy-category (last
visited June 24, 2020).
5
    Id.



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       6.        To further induce reasonable consumers into believing that the cows are carefully

managed, comfortable, and sustainably produce milk of exceptional quality that can be traced to

Defendants’ farms, Defendants, in particular fairlife and the McCloskeys, have invited

consumers to “visit [Defendants’] flagship farm in Indiana” called Fair Oaks Farms to “see [the

‘exceptional care taken every step of the way’] for themselves.”

       7.        This “exemplar farm” is part of Defendants’ overall marketing strategy—

demonstrating to consumers that Defendants are committed to transparency and traceability—

providing consumers with full and complete information about their farming practices, while

ensuring consumers that they can trace the Products they purchase back to the very grass that the

cows ingested.

       8.        Defendants’ representations about humane animal care, the high quality of milk

produced and used, the traceability of milk used, and the environmental sustainability of farming

practices associated with the Products (hereinafter “Animal Welfare Promises”) were material to

consumers who purchased fairlife Products.

       9.        But despite making these explicit Animal Welfare Promises, they were false,

deceptive and misleading. Defendants did not live up to those promises: several undercover

investigations revealed widespread abuse at farms that sourced fairlife Products—including at

Defendants’ “flagship farm” Fair Oaks.

       10.       Undercover investigations and videos at Fair Oaks demonstrated that—as a matter

of routine practice—its livestock suffered egregious abuse under the supervision of farm

management. Cows and calves were tortured, kicked, beaten with fists and blunt instruments,

confined to tiny hutches, thrown, force-fed, burned, deprived of critical veterinary care, and

forced to suffer environmental extremes including temperatures well over 100-degrees. Animals




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at Fair Oaks were subjected to such horrendous abuse that criminal charges were brought against

three former Fair Oaks employees.

       11.     The abuse at Fair Oaks is not an isolated incident: the animal cruelty and neglect

documented at Fair Oaks was routine, commonplace, sanctioned by Defendants, and extensive to

and throughout Defendants’ network of affiliate farms—and Defendants have sourced and

continue to source milk for the Products from other dairy producers that engage in similarly cruel

and inhumane treatment of cows and calves.

       12.     Defendants did not fulfill or live up to the explicit Animal Welfare Promises that

they made to consumers, including that dairy cows that were used to create fairlife Products are

treated ethically and humanely. Defendants’ failure to ensure that they were following these

promises and representations to consumers — especially at the flagship farm location — is a

violation of the explicit promises that Defendants made to consumers.

       13.     Consumers — including Plaintiffs and other Class members as alleged herein —

would not have purchased or would have paid substantially less for fairlife Products if they had

known that Defendants did not live up to their promises. Accordingly, consumers expected that

Defendants would have the proper, company-wide, monitoring in place to follow the explicit

promises Defendants made to consumers regarding the ethical and humane treatment of dairy

cows - regardless of whether any drop of milk in a particular Product bought by a Plaintiff

specifically came from an abused dairy cow.6

       14.     Plaintiffs and the Class members suffered further injury as a direct result of

Defendants’ Animal Welfare Promises by being fraudulently induced to become unwitting

6
 In any event, as explained herein, Defendants represent that the milk is “traceable,” so
Defendants should be able to inform consumers whether the Products came from a farm that did
not follow Defendants’ explicit promises.



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participants in the very animal cruelty and unsustainable large corporate factory farming

practices they sought to avoid by purchasing and paying a premium for Defendants’ Products in

reasonable reliance on Defendants’ promises and the related misbranding and deceptive

marketing of the Products as “humane” and “family farmed.”

       15.     Plaintiffs bring this class action to stop Defendants’ deceptive and unlawful

practices, to stop Defendants’ cruel and unsustainable dairy farming practices, and to recover

monetary relief for Defendants’ misconduct related to their false and misleading Animal Welfare

Promises, and for the resulting injuries to Plaintiffs and the Class members.

                                            PARTIES

       16.     Plaintiff Carol Cantwell is a citizen of California, residing in San Diego. For the

past four years or more, Plaintiff Cantwell purchased Defendants’ Products from Vons grocery

stores in Rancho Penasquitos and Torrey Highlands, and from Target in Poway.             Plaintiff

Cantwell purchased Defendants’ fairlife whole milk, chocolate milk and 2% milk at least once

per week and six to eight times per month. Prior to purchasing the Products, Plaintiff Cantwell

reviewed the Products’ labels and relied on Defendants’ Animal Welfare Promises thereon. In

reasonable reliance on the Animal Welfare Promises, Plaintiff Cantwell paid an increased cost

for the Products, which were worth less than represented because the statements were not true

and were highly misleading. Defendants’ Animal Welfare Promises were part of the basis of the

bargain in that Plaintiff Cantwell attributed value to Defendants’ Promises and Plaintiff Cantwell

would not have purchased the Products, or would not have purchased them on the same terms, if

she knew the Animal Welfare Promises were untrue and/or misleading. Plaintiff Cantwell paid a

price premium for empty promises of humane animal treatment that Defendants did not keep.

Should Plaintiff Cantwell encounter any of the Products in the future, she cannot rely on the




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truthfulness of the labels’ statements absent corrective advertising. If Defendants take corrective

action to ensure the truthfulness of the Animal Welfare Promises and/or correct the Products’

labels, Plaintiff Cantwell would consider buying the current formulations of the Products in the

future.

          17.   Plaintiff Jae Jones is a citizen of Georgia and resides in Woodstock. From

approximately July or August 2018 to September or October 2019, Plaintiff Jones purchased

Defendants’ Products from Publix or Kroger in Holly Springs and Canton, Georgia. Plaintiff

Jones purchased Defendants’ fairlife 2% milk Products and typically purchased at least one half

gallon per week. Prior to purchasing the Products, Plaintiff Jones reviewed the Products’ labels

and relied on Defendants’ Animal Welfare Promises thereon. In reasonable reliance on the

Animal Welfare Promises, Plaintiff Jones paid an increased cost for the Products, which were

worth less than represented because the statements were not true and were highly misleading.

Defendants’ Animal Welfare Promises were part of the basis of the bargain in that Plaintiff Jones

attributed value to Defendants’ Promises and Plaintiff Jones would not have purchased the

Products, or would not have purchased them on the same terms, if she knew the Animal Welfare

Promises were untrue and/or misleading.       Plaintiff Jones paid a price premium for empty

promises of humane animal treatment that Defendants did not keep. Should Plaintiff Jones

encounter any of the Products in the future, she cannot rely on the truthfulness of the labels’

statements absent corrective advertising. If Defendants take corrective action to ensure the

truthfulness of the Animal Welfare Promises and/or correct the Products’ labels, Plaintiff Jones

would consider buying the current formulations of the Products in the future.

          18.   Plaintiff Jenny Rossano is a citizen of Georgia and resides in Savannah. From

approximately late 2014 until June 2019, Plaintiff Rossano purchased Defendants’ Products from




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Walmart near her prior home in North Miami Beach, Florida, approximately once per week.

Plaintiff Rossano purchased the Defendants’ 2% and skim milk Products. Prior to purchasing the

Products, Plaintiff Rossano reviewed the Products’ labels and relied on Defendants’ Animal

Welfare Promises thereon. In reasonable reliance on the Animal Welfare Promises, Plaintiff

Rossano paid an increased cost for the Products, which were worth less than represented because

the statements were not true and were highly misleading. Defendants’ Animal Welfare Promises

were part of the basis of the bargain in that Plaintiff Rossano attributed value to Defendants’

Promises and Plaintiff Rossano would not have purchased the Products, or would not have

purchased them on the same terms, if she knew the Animal Welfare Promises were untrue and/or

misleading.    Plaintiff Rossano paid a price premium for empty promises of humane animal

treatment that Defendants did not keep. Should Plaintiff Rossano encounter any of the Products in

the future, she cannot rely on the truthfulness of the labels’ statements absent corrective

advertising.   If Defendants take corrective action to ensure the truthfulness of the Animal

Welfare Promises and/or correct the Products’ labels, Plaintiff Rossano would consider buying

the current formulations of the Products in the future.

       19.     Plaintiff Diana Tait is a citizen of Illinois and resides in Norridge. For the past

two years or more, Plaintiff Tait purchased Defendants’ Products from Target, Marianos, and

Jewel Osco in Illinois. Plaintiff Tait purchased Defendants’ fairlife chocolate milk Product ten

or more times. Prior to purchasing the Products, Plaintiff Tait reviewed the Products’ labels and

relied on Defendants’ Animal Welfare Promises thereon. In reasonable reliance on the Animal

Welfare Promises, Plaintiff Tait paid an increased cost for the Products, which were worth less

than represented because the statements were not true and were highly misleading. Defendants’

Animal Welfare Promises were part of the basis of the bargain in that Plaintiff Tait attributed




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value to Defendants’ Promises and Plaintiff Tait would not have purchased the Products, or

would not have purchased them on the same terms, if she knew the Animal Welfare Promises

were untrue and/or misleading. Plaintiff Tait paid a price premium for empty promises of

humane animal treatment that Defendants did not keep. Should Plaintiff Tait encounter any of

the Products in the future, she cannot rely on the truthfulness of the labels’ statements absent

corrective advertising. If Defendants take corrective action to ensure the truthfulness of the

Animal Welfare Promises and/or correct the Products’ labels, Plaintiff Tait would consider

buying the current formulations of the Products in the future.

       20.     Plaintiff Michelle Ingrodi is a citizen of Maryland, residing in Frostburg. For the

past two years or more, Plaintiff Ingrodi purchased Defendants’ Products from Martins grocery

stores in LaVale and Cumberland, from Weis grocery stores in Frostburg and Belair, from

Walmart in LaVale, and from Amazon. Plaintiff Ingrodi purchased Defendants’ fairlife chocolate

and 2% milk products, in both the half gallon and individual sizes, for both herself and her family

members; Plaintiff Ingrodi also purchased Defendants’ protein shakes (strawberry banana, oats

and honey) in individual serving sizes. Plaintiff Ingrodi purchased Defendants’ Products on a

weekly to bi-weekly basis. Prior to purchasing the Products, Plaintiff Ingrodi reviewed the

Products’ labels and relied on Defendants’ Animal Welfare Promises thereon. In reasonable

reliance on the Animal Welfare Promises, Plaintiff Ingrodi paid an increased cost for the

Products, which were worth less than represented because the statements were not true and were

highly misleading. Defendants’ Animal Welfare Promises were part of the basis of the bargain in

that Plaintiff Ingrodi attributed value to Defendants’ Promises and Plaintiff Ingrodi would not

have purchased the Products, or would not have purchased them on the same terms, if she knew

the Animal Welfare Promises were untrue and/or misleading. Plaintiff Ingrodi paid a price




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premium for empty promises of humane animal treatment that Defendants did not keep. Should

Plaintiff Ingrodi encounter any of the Products in the future, she cannot rely on the truthfulness of

the labels’ statements absent corrective advertising. If Defendants take corrective action to

ensure the truthfulness of the Animal Welfare Promises and/or correct the Products’ labels,

Plaintiff Ingrodi would consider buying the current formulations of the Products in the future.

        21.      Plaintiff Cindy Peters is a citizen of Michigan and resides in Harrison. For the

past two years or more, Plaintiff Peters purchased Defendants’ Products from Kroger in Mount

Pleasant and Meijer. Plaintiff Peters purchased Defendants’ fairlife chocolate and 2% milk,

making a significant number of purchases over the past two years. Prior to purchasing the

Products, Plaintiff Peters reviewed the Products’ labels and relied on Defendants’ Animal Welfare

Promises thereon. In reasonable reliance on the Animal Welfare Promises, Plaintiff Peters paid an

increased cost for the Products, which were worth less than represented because the statements

were not true and were highly misleading. Defendants’ Animal Welfare Promises were part of

the basis of the bargain in that Plaintiff Peters attributed value to Defendants’ Promises and

Plaintiff Peters would not have purchased the Products, or would not have purchased them on the

same terms, if she knew the Animal Welfare Promises were untrue and/or misleading. Plaintiff

Peters paid a price premium for empty promises of humane animal treatment that Defendants did

not keep. Should Plaintiff Peters encounter any of the Products in the future, she cannot rely on

the truthfulness of the labels’ statements absent corrective advertising.       If Defendants take

corrective action to ensure the truthfulness of the Animal Welfare Promises and/or correct the

Products’ labels, Plaintiff Peters would consider buying the current formulations of the Products

in the future.

        22.      Plaintiff Debra French is a citizen of Missouri and resides in Springfield. For the




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past two years or more, Plaintiff French purchased Defendants’ Products from Walmart and

Krogers. Plaintiff French purchased Defendants’ fairlife 2% chocolate milk Products on a weekly

basis since 2016. Prior to purchasing the Products, Plaintiff French reviewed the Products’ labels

and relied on Defendants’ Animal Welfare Promises thereon. In reasonable reliance on the

Animal Welfare Promises, Plaintiff French paid an increased cost for the Products, which were

worth less than represented because the statements were not true and were highly misleading.

Defendants’ Animal Welfare Promises were part of the basis of the bargain in that Plaintiff

French attributed value to Defendants’ Promises and Plaintiff French would not have purchased

the Products, or would not have purchased them on the same terms, if she knew the Animal

Welfare Promises were untrue and/or misleading. Plaintiff French paid a price premium for

empty promises of humane animal treatment that Defendants did not keep. Should Plaintiff

French encounter any of the Products in the future, she cannot rely on the truthfulness of the

labels’ statements absent corrective advertising. If Defendants take corrective action to ensure the

truthfulness of the Animal Welfare Promises and/or correct the Products’ labels, Plaintiff French

would consider buying the current formulations of the Products in the future.

       23.     Plaintiff Kaye Mallory is a citizen of Missouri and resides in Columbia. For the

past two years or more, Plaintiff Mallory purchased Defendants’ Products from Walmart in

Columbia, Missouri. Plaintiff Mallory purchased Defendants’ fairlife 1%, 2% and chocolate milk

Products, making roughly 250 such purchases. Prior to purchasing the Products, Plaintiff Mallory

reviewed the Products’ labels and relied on Defendants’ Animal Welfare Promises thereon. In

reasonable reliance on the Animal Welfare Promises, Plaintiff Mallory paid an increased cost for

the Products, which were worth less than represented because the statements were not true and

were highly misleading. Defendants’ Animal Welfare Promises were part of the basis of the




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bargain in that Plaintiff Mallory attributed value to Defendants’ Promises and Plaintiff Mallory

would not have purchased the Products, or would not have purchased them on the same terms, if

she knew the Animal Welfare Promises were untrue and/or misleading. Plaintiff Mallory paid a

price premium for empty promises of humane animal treatment that Defendants did not keep.

Should Plaintiff Mallory encounter any of the Products in the future, she cannot rely on the

truthfulness of the labels’ statements absent corrective advertising. If Defendants take corrective

action to ensure the truthfulness of the Animal Welfare Promises and/or correct the Products’

labels, Plaintiff Mallory would consider buying the current formulations of the Products in the

future.

          24.   Plaintiff Connie Sandler is a citizen of Minnesota and resides in Golden Valley.

For the past two years or more, Plaintiff Sandler purchased Defendants’ Products from Byerlys,

Target, and occasionally Cub retailers. Plaintiff Sandler purchased Defendants’ fairlife chocolate

milk and skim milk roughly every week. Prior to purchasing the Products, Sandler reviewed the

Products’ labels and relied on Defendants’ Animal Welfare Promises thereon. In reasonable

reliance on the Animal Welfare Promises, Plaintiff Sandler paid an increased cost for the

Products, which were worth less than represented because the statements were not true and were

highly misleading. Defendants’ Animal Welfare Promises were part of the basis of the bargain in

that Plaintiff Sandler attributed value to Defendants’ Promises and Plaintiff Sandler would not

have purchased the Products, or would not have purchased them on the same terms, if she knew

the Animal Welfare Promises were untrue and/or misleading. Sandler paid a price premium for

empty promises of humane animal treatment that Defendants did not keep. Should Plaintiff

Sandler encounter any of the Products in the future, she cannot rely on the truthfulness of the

labels’ statements absent corrective advertising. If Defendants take corrective action to ensure the




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truthfulness of the Animal Welfare Promises and/or correct the Products’ labels, Plaintiff Sandler

would consider buying the current formulations of the Products in the future.

       25.     Plaintiff David Rothberg is a citizen of New York, residing in Manorville. For the

past two years or more, Plaintiff Rothberg purchased Defendants’ Products from Safeway and

Whole Foods near 98th and Broadway in Manhattan. Plaintiff Rothberg purchased the 2%

version of Defendants’ fairlife milk on approximately a weekly basis. Prior to purchasing the

Products, Plaintiff Rothberg reviewed the Products’ labels and relied on Defendants’ Animal

Welfare Promises thereon. In reasonable reliance on the Animal Welfare Promises, Plaintiff

Rothberg paid an increased cost for the Products, which were worth less than represented because

the statements were not true and were highly misleading. Defendants’ Animal Welfare Promises

were part of the basis of the bargain in that Plaintiff Rothberg attributed value to Defendants’

Promises and Plaintiff Rothberg would not have purchased the Products, or would not have

purchased them on the same terms, if he knew the Animal Welfare Promises were untrue and/or

misleading. Plaintiff Rothberg paid a price premium for empty promises of humane animal

treatment that Defendants did not keep. Should Plaintiff Rothberg encounter any of the Products

in the future, he cannot rely on the truthfulness of the labels’ statements absent corrective

advertising. If Defendants take corrective action to ensure the truthfulness of the Animal Welfare

Promises and/or correct the Products’ labels, Plaintiff Rothberg would consider buying the current

formulations of the Products in the future.

       26.     Plaintiff Karai Hamilton is a citizen of Pennsylvania and resides in Philadelphia.

During the past two years, Plaintiff Hamilton purchased Defendants’ Products from BJ’s and

Shoprite in Philadelphia. Plaintiff Hamilton has also purchased Defendants’ Products from Stop

N Shop and from Big Y, and has purchased Defendants’ Products in multiple states besides




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Pennsylvania, including Texas and Connecticut.         Plaintiff Hamilton purchased Defendants’

fairlife chocolate milk in brown bottles, lactose/fat free milk in blue bottles, and high protein,

omega-fortified milk in red bottles. Prior to purchasing the Products, Plaintiff Hamilton reviewed

the Products’ labels and relied on Defendants’ Animal Welfare Promises thereon. In reasonable

reliance on the Animal Welfare Promises, Plaintiff Hamilton paid an increased cost for the

Products, which were worth less than represented because the statements were not true and were

highly misleading. Defendants’ Animal Welfare Promises were part of the basis of the bargain in

that Plaintiff Hamilton attributed value to Defendants’ Promises and Plaintiff Hamilton would not

have purchased the Products, or would not have purchased them on the same terms, if she knew

the Animal Welfare Promises were untrue and/or misleading. Plaintiff Hamilton paid a price

premium for empty promises of humane animal treatment that Defendants did not keep. Should

Plaintiff Hamilton encounter any of the Products in the future, she cannot rely on the truthfulness

of the labels’ statements absent corrective advertising. If Defendants take corrective action to

ensure the truthfulness of the Animal Welfare Promises and/or correct the Products’ labels,

Plaintiff Hamilton would consider buying the current formulations of the Products in the future.

       27.     Plaintiff Arnetta Velez is a citizen of Texas and resides in McKinney. From

approximately 2016 to 2019, Plaintiff Velez purchased Defendants’ Products from Target stores

in McKinney and Frisco, Texas, and at Sprouts in McKinney, Texas. Plaintiff Velez purchased

Defendants’ fairlife chocolate and, to a lesser extent, skim milk Products, usually at least once per

month. Prior to purchasing the Products, Plaintiff Velez reviewed the Products’ labels and relied

on Defendants’ Animal Welfare Promises thereon. In reasonable reliance on the Animal Welfare

Promises, Plaintiff Velez paid an increased cost for the Products, which were worth less than

represented because the statements were not true and were highly misleading. Defendants’




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Animal Welfare Promises were part of the basis of the bargain in that Plaintiff Velez attributed

value to Defendants’ Promises and Plaintiff Velez would not have purchased the Products, or

would not have purchased them on the same terms, if she knew the Animal Welfare Promises

were untrue and/or misleading. Plaintiff Velez paid a price premium for empty promises of

humane animal treatment that Defendants did not keep. Should Plaintiff Velez encounter any of

the Products in the future, she cannot rely on the truthfulness of the labels’ statements absent

corrective advertising. If Defendants take corrective action to ensure the truthfulness of the

Animal Welfare Promises and/or correct the Products’ labels, Plaintiff Velez would consider

buying the current formulations of the Products in the future.

       28.     Plaintiff Christina Parlow is a citizen of Virginia and resides in South Chesterfield.

For the past two years or more, Plaintiff Parlow purchased Defendants’ Products from Walmart,

Wawa and Food Lion in Midlothian, Virginia. Plaintiff Parlow purchased Defendants’ Core

Power, fairlife Reduced Fat and fairlife chocolate milk Products once per week.             Prior to

purchasing the Products, Plaintiff Parlow reviewed the Products’ labels and relied on Defendants’

Animal Welfare Promises thereon. In reasonable reliance on the Animal Welfare Promises,

Plaintiff Parlow paid an increased cost for the Products, which were worth less than represented

because the statements were not true and were highly misleading. Defendants’ Animal Welfare

Promises were part of the basis of the bargain in that Plaintiff Parlow attributed value to

Defendants’ Promises and Plaintiff Parlow would not have purchased the Products, or would not

have purchased them on the same terms, if she knew the Animal Welfare Promises were untrue

and/or misleading. Plaintiff Parlow paid a price premium for empty promises of humane animal

treatment that Defendants did not keep. Should Plaintiff Parlow encounter any of the Products in

the future, she cannot rely on the truthfulness of the labels’ statements absent corrective




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advertising. If Defendants take corrective action to ensure the truthfulness of the Animal Welfare

Promises and/or correct the Products’ labels, Plaintiff Parlow would consider buying the current

formulations of the Products in the future.

       29.     Plaintiff Demetrios Tsiptsis is a citizen of Virginia and resides in Richmond. For

well over two years, Plaintiff Tsiptsis purchased Defendants’ Products from Harris Teeter and

Kroger in Virginia. Plaintiff Tsiptsis purchased Defendants’ fairlife chocolate and regular milk

Products on a weekly basis. Prior to purchasing the Products, Plaintiff Tsiptsis reviewed the

Products’ labels and relied on Defendants’ Animal Welfare Promises thereon. In reasonable

reliance on the Animal Welfare Promises, Plaintiff Tsiptsis paid an increased cost for the

Products, which were worth less than represented because the statements were not true and were

highly misleading. Defendants’ Animal Welfare Promises were part of the basis of the bargain in

that Plaintiff Tsiptsis attributed value to Defendants’ Promises and Plaintiff Tsiptsis would not

have purchased the Products, or would not have purchased them on the same terms, if he knew

the Animal Welfare Promises were untrue and/or misleading. Plaintiff Tsiptsis paid a price

premium for empty promises of humane animal treatment that Defendants did not keep. Should

Plaintiff Tsiptsis encounter any of the Products in the future, he cannot rely on the truthfulness of

the labels’ statements absent corrective advertising. If Defendants take corrective action to ensure

the truthfulness of the Animal Welfare Promises and/or correct the Products’ labels, Plaintiff

Tsiptsis would consider buying the current formulations of the Products in the future.

       30.     Plaintiff Terri Birt is a citizen of Wisconsin and resides in Milwaukee. Plaintiff

Birt began purchasing Defendants’ Products in November of 2018 from Meijer in Wauwatosa,

Wisconsin and Metro Market in Milwaukee, Wisconsin, having made approximately 22 such

purchases. Plaintiff Birt purchased Defendants’ fairlife chocolate milk, 2% reduced fat milk, 1%




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low fat milk and fat free milk Products. Prior to purchasing the Products, Plaintiff Birt reviewed

the Products’ labels and relied on Defendants’ Animal Welfare Promises thereon. In reasonable

reliance on the Animal Welfare Promises, Plaintiff Birt paid an increased cost for the Products,

which were worth less than represented because the statements were not true and were highly

misleading. Defendants’ Animal Welfare Promises were part of the basis of the bargain in that

Plaintiff Birt attributed value to Defendants’ Promises and Plaintiff Birt would not have purchased

the Products, or would not have purchased them on the same terms, if she knew the Animal

Welfare Promises were untrue and/or misleading. Plaintiff Birt paid a price premium for empty

promises of humane animal treatment that Defendants did not keep.            Should Plaintiff Birt

encounter any of the Products in the future, she cannot rely on the truthfulness of the labels’

statements absent corrective advertising. If Defendants take corrective action to ensure the

truthfulness of the Animal Welfare Promises and/or correct the Products’ labels, Plaintiff Birt

would consider buying the current formulations of the Products in the future.

       31.     Defendant fairlife, LLC is a Delaware limited liability company with its principal

place of business located in Chicago, Illinois. fairlife, LLC, manufactures, markets, and sells the

Products throughout the United States. Although it began as a joint venture between Select Milk

and Coca-Cola, Coca-Cola acquired the remaining stake of fairlife from Select Milk in 2020 and

now owns 100% of fairlife.

       32.     Defendant The Coca-Cola Company is a Delaware corporation with its principal

place of business located in Atlanta, Georgia. The Coca-Cola Company markets and distributes

the Products, which it refers to as one of its “brands” on its website,7 throughout the United


7
 fairlife, The Coca-Cola Company, https://www.coca-colacompany.com/brands/fairlife (last
visited June 4, 2020).



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States. Coca-Cola exercises significant oversight over fairlife by engaging independent, third-

party auditors to ensure the welfare of dairy cows that produce fairlife products.

       33.     Defendants Mike McCloskey and Sue McCloskey are the co-founders of fairlife

and are actively involved in the marketing, advertising, and labeling of the Products. The

McCloskeys personally appear on behalf of fairlife throughout the United States and individual

states in which one or more of the named Plaintiffs reside. Individually, or acting in concert with

fairlife, the McCloskeys actively participate in and direct the labeling, marketing, advertising,

sale, promotion, and distribution of the Products. Similarly, the McCloskeys, individually or

acting in concert with fairlife, also have direct control and oversight over Defendants’ treatment

of cows at their many farms throughout the United States, including the flagship farm referenced

in the Products’ labeling. Further, the McCloskeys are spokespersons for the Products, and make

a personal “promise,” signed under their own names, on the Products’ labels regarding the

fraudulent and misleading statements subject to this lawsuit, including the promise that

Defendants provide “extraordinary care and comfort for [their] cows.”            The McCloskeys

perpetuate this personal “promise” by promoting the language on the deceptive labeling in other

forums such as fairlife, LLC’s website and social media platforms.

       34.     Defendant Select Milk Producers, Inc. is a New Mexico marketing cooperative

that was formed by the McCloskeys in 1994. Purportedly, “[f]ounded on honesty, trust, and

quality,” the 99 “family-owned” farms that form Select Milk’s cooperative are providers of dairy

for fairlife products.   Select Milk’s farms pride themselves on quality, traceability, and

sustainability, ensuring customers that “[y]ou can be rest assured that the more than 7 billion

pounds of milk that Select Milk produces each year comes from innovative sustainable farming




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and extraordinary animal care and comfort.”8

                                  JURISDICTION AND VENUE

       35.     The Court has personal jurisdiction over each of the Defendants. The Court has

personal jurisdiction over fairlife, because it resides in and is subject to the general jurisdiction of

this District. The Court also has personal jurisdiction over Mike and Sue McCloskey, because

they are actively involved in the marketing, distribution, and sales of the Products throughout the

United States, including in this District, and because of their interest in Defendant fairlife. The

Court also has personal jurisdiction over Coca-Cola because it markets, distributes, and sells the

Products throughout the United States, including in this District, and because of its significant

oversight over Defendant fairlife. The Court has personal jurisdiction over Select Milk because

it serves as the exclusive provider of milk products for Defendant fairlife, and includes farms and

farming operations from this District.

       36.     This Court also has subject-matter jurisdiction pursuant to the Class Action

Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because this is a class action in which the matter

in controversy exceeds the sum of $5,000,000, and the Defendants are citizens of a state different

from that of at least one Class member.

       37.     Venue is proper in this District under 28 U.S.C. § 1391(a) through (d) because

fairlife’s principal place of business is located in this District and substantial parts of the events

or omissions giving rise to the claims occurred in the District.




8
 About Us, Select Milk Producers, Inc., https://www.selectmilk.com/ (last visited June 18,
2020).



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                                  FACTUAL ALLEGATIONS

Coca-Cola’s Partnership with fairlife

         38.   In 2011, sales of major carbonated soft drinks were declining, affecting the

bottom lines of companies like Coca-Cola. Eager to increase sales of its product lines, in 2012,

Coca-Cola formed a partnership with Select Milk Producers that would “rain[] money” for Coca-

Cola.9

         39.   [F]airlife’s former CEO Stephen Jones, who is also a former Coca-Cola

executive, publicly acknowledged that Coca-Cola’s sale of a premium milk product would help

to increase Coca-Cola’s profits by also reversing declining milk consumption. Betting on a

premium milk product, Coca-Cola hoped that fairlife would be a significant driver of sales

growth.

         40.   Coca-Cola has, at all times relevant to this lawsuit, including to this day,

maintained control over fairlife—including regulating animal welfare, expecting that its

suppliers operate with the highest degree of integrity and comply with all laws, including animal

welfare laws, and ensuring fairlife, among other things, audits dairy suppliers.10

         41.   Coca-Cola’s control over its suppliers includes enforceable Sustainable

Agriculture Guiding Principles, and Supplier Guiding Principles, as well as an internal auditing

process, all of which were in place throughout its relationship and ownership of fairlife. This


9
 Coke Bets on “Premium Milk” to Boost Declining Category, available at
https://www.agweb.com/article/coke-bets-on-premium-milk-to-boost-declining-category-NAA-
associated-press (last visited June 24, 2020).
10
   This is from the version of the Coca-Cola website available on June 7, 2019, according to the
Wayback Machine, available at
https://web.archive.org/web/20190607155428/https://www.coca-colacompany.com/press-
center/company-statements/coca-cola-company-statement-regarding-fair-oaks-farms (last visited
June 24, 2020).



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control is exerted from its corporate headquarters in Georgia.

        42.    In January 2020, Coca-Cola acquired the remaining 57.5% stake in fairlife for

$1.0 billion, subject to making future milestone payments which are contingent on fairlife

achieving certain financial targets through 2020.11

Animal Welfare Promises Are Central to Defendants’ Marketing

        43.    It is no coincidence that Defendants branded their milk Products with the brand

name “fairlife.” This prominent and ubiquitous claim—indeed, the brand itself—indicates to

Plaintiffs and reasonable consumers that the fairlife dairy cows are treated “fairly,” and have a

“fair life” when compared to cows used to produce milk for other mass market milk brands. To

further this messaging, Defendants devote an entire side of each milk package to the story about

how humanely fairlife dairy cows are treated and make nearly identical animal welfare promises

on the labeling and packaging of all of the Products.

        44.    The packaging urges consumers to “LEARN OUR STORY” at fairlife.com, and

Defendants’ lengthy promise to treat fairlife dairy cows humanely just below that request implies

that consumers can learn more about the humane lives the fairlife cows live.

        45.    This representation is captioned with the heading “our promise,” which is in bold

font.

        46.    Below the “our promise” heading, Defendants state that the Product is a “one-of-

a-kind milk” arising out of “an ambition to provide the world with better nutrition while making

the world a better place.” It then states that fairlife farmers take “exceptional care . . . every step

of the way.”


11
  Coca-Cola 2020 Annual 10k at 63, 138, available at https://investors.coca-
colacompany.com/filings-reports/annual-filings-10-k.



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       47.     Next is a bullet-point list, in bold font, which states:

                      “Extraordinary care and comfort for our cows”

                      “Exceptional quality milk standards”

                      “Traceability back to our farms”

                      “Continual pursuit of sustainable farming”

       48.     Defendants then invite consumers to “visit our flagship farm in Indiana so you

can see for yourself!” This refers to Fair Oaks Farms, where—as described further herein—the

Animal Recovery Mission (“ARM”) uncovered pervasive practices of animal abuse.

       49.     At the very bottom of the label, the McCloskeys have a bold, prominent signature

that is stylized to appear authentic and indicate that they personally guarantee the above

representations.

       50.     This side of the labeling is depicted below:




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       51.    Defendants’ message that animal welfare is paramount to fairlife operations is

reinforced by the front of the labeling, which includes a stylized drawing of a cow’s face. The

approachable drawing—reminiscent of an illustration in a children’s book—is designed to

encourage consumers to conclude that the animals are healthy, happy and treated humanely.

       52.    The very name of the Products themselves - “fairlife” - itself reinforces

Defendants’ animal-welfare message. Among the recognized meanings of the word “fair” are

“marked by impartiality and honesty”; “conforming with the established rules”; and, “clean,


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pure.”12 Particularly when coupled with a stylized drawing of an apparently happy, well-treated

cow, the very name “fairlife” suggests to reasonable consumers that fairlife’s animals are treated

humanely.

       53.     The front of the labeling is depicted below:




       54.     Defendants’ animal welfare and farming promises are reiterated and reinforced on



12
   Fair, Merriam-Webster Online Dictionary, https://www.merriam-webster.com/dictionary/fair
(last visited June 24, 2020).



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the fairlife website. As noted above, the “our promise” side of the labeling invites consumers to

“LEARN OUR STORY” at the fairlife website: fairlife.com.

       55.     Prior to the public revelations of animal abuse (discussed in more detail below),

the fairlife website contained a lengthy description of all the steps taken to make sure fairlife

dairy cows and calves were treated humanely—better than they would have been treated at other

dairy farms.

       56.     Prior to the public revelations of animal abuse in early June 2019, the fairlife

website featured an “OUR PROMISE” page that stated, in relevant part:

               a.      “We believe in doing better every step of the way, because it’s the right

                       thing to do. For us, ‘better’ means growing our own crops and putting our

                       cows’ well-being at the top of our list.”

               b.      “As dairy farmers, we treat our cows with the utmost care, because we

                       know that their health and happiness are the foundation of our business.

                       We grow the crops that feed our cows so we can ensure that they’re

                       getting high quality nutrition. We invite you to our flagship farm in Fair

                       Oaks, Indiana, to see just how we do it.”13

       57.     Prior to the public revelations of animal abuse in early June 2019, the fairlife

website featured an “Our Farms” page that stated, in relevant part:

               a.      “BEST in CLASS ANIMAL CARE: Co-founder Mike McCloskey got

                       his start as a veterinarian specializing in dairy cows, so we know how


13
   This is from the version of the fairlife website that existed on April 20, 2019, according to the
Wayback Machine, available at
http://web.archive.org/web/20190420162213/https://fairlife.com/our-promise/ (last visited June
24, 2020).



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                       important it is to put our cows’ needs first. And since comfortable, healthy

                       cows produce better quality milk, they reward us with some of the best

                       milk in the industry.”14

       58.     Prior to the public revelations of animal abuse in early June 2019, the fairlife

website featured an “Animal Care” page that stated, in relevant part:

               a.      “IT’S all ABOUT HER: Our co-founder Mike McCloskey started his

                       career as a cow veterinarian before turning to dairy farming, and under his

                       care and guidance, we know that nothing is as important to us as the health

                       and well-being of our animals. Our world revolves around making sure

                       that our cows are fed well, treated humanely and live in comfortable,

                       stress-free conditions.”

               b.      “SPOILED from the VERY START: Newborn calves are visually

                       monitored daily and are given immediate and proper medical treatment

                       should they become ill.”

               c.      “COMFORTABLE at all TIMES: She and her friends have comfortable

                       beds and freestanding stalls, allowing them to walk freely while being

                       protected from harsh weather. In the winter we keep wind and the

                       elements out of their living areas by closing the curtained sidewalls of the

                       barns. Cows love to stay cool, so in the warm summer months we use fans

                       to maintain a 7 mph breeze over the feed manger and over the cows’ beds.


14
   This is from the version of the fairlife website that existed on April 20, 2019, according to the
Wayback Machine, available at
http://web.archive.org/web/20190420162213/https://fairlife.com/our-promise/our-farms/ (last
visited June 24, 2020).



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                       We also spray our cows’ skin with water many times a day in order to

                       keep their body temperature down.”

               d.      “ALWAYS in GOOD HANDS: We spend a significant amount of time

                       training all of our employees not only in proper animal husbandry but also

                       indoctrinating them as to why we will accept nothing less than the utmost

                       care, respect and humane treatment of our cows.”15

       59.     In addition, prior to the public revelation of animal abuse, the website for Fair

Oaks Farms linked to the farm’s Facebook page, which explicitly stated that bull calves were not

sent to be turned into veal. In a response posted on the Fair Oak Farms website, Mike

McCloskey has now acknowledged that the representation regarding bull calves was untrue.16

       60.     After the public revelation of widespread animal abuse at Fair Oaks Farms,

fairlife changed its website to remove some of the most blatant misrepresentations. Nevertheless,

the fairlife website still claims that animal welfare is an important part of its philosophy and

operations. For example, the current fairlife website states, in relevant part:

               a.      “For dairy cows, it’s about striving to provide a quality of life that not

                       only incorporates basic health and safety needs, but also aims to minimize

                       mental stress, accommodate natural behaviors, and avoid or minimize

                       pain.”

               b.      “For farmers and animal caretakers, it’s about valuing and demonstrating


15
   This is from the version of the fairlife website that existed on April 20, 2019, according to the
Wayback Machine, available at
http://web.archive.org/web/20190420162213/https://fairlife.com/our-promise/animal-care/ (last
visited June 24, 2020).
16
 Official Statement From Our Founder Mike McCloskey On The ARM Video Release, Fair
Oaks Farms, https://fofarms.com/post/response/ (last visited June 24, 2020).



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                         compassion and respect for the important role they play in caring for cows

                         and ensuring that they in turn embody these core values in their daily care

                         of animals.”

                 c.      “Ensuring that the animals who provide fairlife dairy products are cared

                         for and cared about is a top priority for failife.”17

          61.    Prior to the exposure of animal abuse, the Coca-Cola website also corroborated

that the welfare of fairlife cows is one of the critical aspects of the Products. For example, one

prominently displayed marketing article about the introduction of the Products to the Canadian

market referred to “high-quality milk and animal care practices, which pair well with the

premium standards and passion for quality fairlife is known for.”18

          62.    Another marketing article prominently displayed on the Coca-Cola website before

the discovery of animal abuse, entitled From Staple to Superfood: How fairlife’s Belief in Better

Milk is Shaking Up the Dairy Aisle, repeatedly emphasized Defendants’ animal-welfare claims:

                 a.      “We’ve always known that the better you treat an animal, the happier and

                         more productive she is. It’s a symbiotic relationship.”

                 b.      “The McCloskeys formed the co-op of fellow family-owned farms in

                         2004, gradually building a network of progressive farmers who share their

                         ‘grass to glass’ commitment to milk quality, animal care and

                         environmental sustainability. All fairlife products can be traced back to the


17
     What We Believe, Fairlife, https://fairlife.com/what-we-believe/ (last visited June 24, 2020).
18
   This is from the version of the Coca-Cola website that existed on July 12, 2018, according to
the Wayback Machine, available at
https://web.archive.org/web/20180612212301/https://www.coca-
colacompany.com/stories/fairlife-ultrafiltered-milk-coming-to-canada (last visited June 24,
2020).



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                        dairies their milk comes from.”

                 c.     “When we share our story of how we treat our cows and focus on their

                        comfort and care and creating a stress-free environment, that really

                        resonates with people who visit our farm . . . .”19

          63.    Defendant Select Milk Producers, Inc. further reinforces and supports fairlife’s

animal welfare promises. Its website states in relevant part:

                 a.     Select Milk Producers, Inc. takes the guesswork out. You can rest assured

                        that the more than 7 billion pounds of milk that Select Milk produces each

                        year comes from innovative sustainable farming and extraordinary animal

                        care and comfort.

                 b.     [W]e opened up Fair Oaks Farms so people could see exactly how our

                        Family Dairy Farm Members operate.20

          64.    Fair Oaks Farms is the “flagship farm” for the fairlife brand that Defendants

invite consumers to visit and hold out to the public as the exemplar of their commitments to

animal welfare and transparency, as well as the source of Defendants’ fairlife Products

complained of herein.

          65.    Indeed, Fair Oaks Farms, the subject farm of two animal cruelty investigations

discussed below, is claimed to be the gold standard of Select Milk producer’s collective of farms.

If Defendants were exercising proper oversight to ensure that their Animal Welfare Promises


19
   This is from the version of the Coca-Cola website available on January 21, 2018, according to
the Wayback Machine, available at
https://web.archive.org/web/20180121142609/http://www.coca-colacompany.com/stories/from-
staple-to-superfood-how-fairlifes-belief-in-better-milk-is-shaking-up-the-dairy-category (last
visited June 24, 2020).
20
     About Us, https://www.selectmilk.com/ (last visited June 24, 2020).



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were truthful and accurate, then—at the very least—the Fair Oaks Farms exemplar farm should

have been exercising best practices to ensure animal welfare and humane treatment.

       66.     A reasonable consumer would understand from each of the representations

described above that fairlife’s sourced dairy farms prioritize animal welfare and treat their cows

with the utmost care and kindness. Moreover, they are mutually reinforcing such that they work

together to strengthen this message to consumers that fairlife’s cows are treated well.

Defendants’ Animal Welfare and Farming Promises Are False

       67.     Defendants prey on consumer desire for more humanely-treated animals—doing

so while systematically abusing and torturing the dairy cows that produce the milk in the

Products.

       68.     On June 4, 2019, and on June 12, 2019, ARM released the results of an

undercover investigation it conducted of Fair Oaks Farms.21

       69.     An undercover investigator working for ARM was hired as a calf-care employee

at Fair Oaks Farms. In that role, the investigator bottle fed newborn calves, assisted loading

calves on transports, and disposed of dead calves. The investigator used surveillance equipment

to capture the normal daily practices on the farm.

       70.     ARM also placed an investigator in the milking areas of Fair Oaks Farms, where

they documented day-to-day operations with cows.

       71.     ARM’s investigator found “extreme animal abuse” that was evidently “the normal

way to do business at Fair Oaks Farms.” Daily or commonplace practices included:


21
   The results of ARM’s undercover investigation are available at
https://animalrecoverymission.org/wp-
content/uploads/2019/06/Operation_Fair_Oaks_Farms_Dairy_Adventure.pdf (last visited June
24, 2020).



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         a.    Brutally throwing newborn calves in and out of their huts;

         b.    Dragging calves by their ears (including from a motorized cart) or by their

               tails and legs;

         c.    Pushing, throwing, slapping, kicking, stomping and slamming calves to

               the ground if the calves did not nurse from the artificial rubber nipple

               during the feeding process;

         d.    Dumping formula on the ground instead of feeding it to calves, thereby

               denying them the appropriate nutrition and hydration needed to survive;

         e.    Withholding veterinary care from the numerous emaciated cows, which

               had a body score of two or three on a nine-point scale used to measure

               cattle body conditions (being either too thin or “borderline” thin);

         f.    Forcing vulnerable newborn calves into filthy and unsanitary conditions;

         g.    Joking with other employees while sitting on top of a calf, whose legs

               buckled because they could not support the extra weight;

         h.    Stabbing and beating calves with various objects including steel rebars,

               hard plastic milking bottles, and steel branding irons;

         i.    Burning calves’ faces and bodies with hot branding irons, often in

               retribution for the calf’s noncompliance with worker demands;

         j.    Dumping the corpses of cows and calves unable to survive the abuse and

               torture into mass graves hidden from farm tourists where they were left to

               rot;

         k.    Twisting and breaking tails of cows who would not move in the milking

               parlor;




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               l.     Cows with infected eyes, broken tails, and infected udders being forced

                      onto milking machines;

               m.     Blood- and manure-covered cows being forced onto milking machines to

                      collect milk for the Products;

               n.     Cows too weak to walk being forced onto milking machines;

               o.     Kicking, beating, punching, pushing, and otherwise abusing cows;

               p.     Dangerously pinning cows inside milking-carousel machinery and

                      allowing them to fall out of it;

               q.     Dragging downed cows (those unable to stand or walk without assistance)

                      with straps who were too sick or weak to walk;

               r.     Packing cows into overcrowded housing;

               s.     Denying medical care to sick cows, including downed cows who were left

                      to die slowly;

               t.     Failing to provide proper shelter from extreme elements, including forcing

                      newborn calves to languish and suffer in temperatures well exceeding 100

                      degrees;

               u.     Separating calves from their mothers soon after birth (distressing both

                      animals); and

               v.     Calves being sold to a veal farm where they are confined to tiny veal

                      crates.

       72.     Notably, none of the footage of abuse captured during the ARM investigation

took place in areas open to the public. In fact, Defendants put in place policies at its “flagship

farm” that were designed and intended to hide its animal abuse and other practices they believed




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would compromise the carefully crafted and false claims they present to the public.

       73.      The ARM investigation is also notable for what it did not find. The investigator

never observed disciplinary action being taken against any employee, even though knowledge of

the animal abuse was known and perpetuated at all levels of employment, including foremen and

upper management. Law enforcement was never contacted or notified by fairlife management.

       74.      The ARM investigator found no medical attention paid to calves or cows, even

though the fairlife website claimed the contrary. Veterinary attention was not provided even

when calves showed obvious signs of distress including languishing, bellowing in pain, or

bleeding from open wounds often caused by worker abuse.

       75.      Adult cows that became sick or injured also did not receive treatment. When adult

cows were too sick to produce milk, they were shot or left to languish and die slowly. When the

cows were shot, small-caliber bullets were improperly used by untrained workers. As a result,

the cows frequently suffered for hours before they died.

       76.      ARM’s investigator received training related to the transportation of dead calves.

Employees were instructed to “always take the back dairy roads while transporting the dead to a

hidden dump area” to prevent any tourists or tour buses from seeing the workers disposing of the

dead animals.

       77.      Male calves were sold to veal farms—contrary to Defendants’ Animal Welfare

Promises and Fair Oaks Farms’ explicit promise that this would not be done—where they were

held in such small enclosures that they were unable to turn around and were forced constantly to

stand in their own feces until they were ultimately killed.

       78.      Defendants hold out their “flagship farm” as representative of each dairy

operation that produces the milk for the Products. Defendants’ marketing and labeling tells




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consumers that the Animal Welfare Promises and the husbandry practices required to achieve

those promises are implemented at all dairy operations producing milk for the Products.

       79.     Other fairlife suppliers model their operations on the processes, infrastructure,

employee training (or lack thereof), and other husbandry practices used at fairlife’s “flagship

farm” in Fair Oaks, Indiana. This includes oversight (or lack thereof) and auditing procedures to

ensure that representations concerning animal welfare are accurate.          In brief: if fairlife’s

“flagship farm” was not following best practices, and Defendants were failing to exercise

oversight or ensure that their representations about animal treatment were being followed at Fair

Oaks, then they had no basis to make their Animal Welfare Promises.

       80.     A culture of animal abuse pervades all of fairlife’s dairy suppliers. This culture of

abuse is known to upper management at individual dairy operations as well as by Defendants.

       81.     Despite knowing of this culture of abuse and the daily suffering of the cows under

its care, Defendants have failed and continue to fail to implement common sense measures to

ensure “extraordinary care” of its cows as promised.

       82.     In addition to the abuse and substandard care at Defendants’ “flagship farm,”

Defendants have sourced and continue to source milk for the Products from other dairy

producers that engage in similarly cruel and inhumane treatment of cows and calves, as

described herein.

       83.     At the time of the above described abuses, both of these dairy producers were

operating under the National Dairy Farmers Assuring Responsible Management (FARM)

program, a program developed in part by Mike McCloskey and purportedly used to ensure

proper animal care on participating farms. FARM purports to “show customers and consumers

that the dairy industry holds itself to the highest standards” and “is taking the very best care of




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cows.”22 Across the United States, 98% of the domestic milk supply is represented through

FARM.23

           84.   As part of its mission, FARM publishes detailed standards for the care of animals

at participating farms.24 Routine practices at Fair Oaks Farms, as documented during the ARM

investigation, failed to meet even the most rudimentary standards of care as promoted by FARM.

For instance, instead of branding newborn calves without any modicum of pain relief (in addition

to beating them with brands or burning their faces in retribution), FARM standards explicitly

require pain mitigation for branding. Instead of housing calves in barren, filthy hutches beneath

a scorching sun, FARM standards require that calving areas are “clean, soft, dry . . . and well-

ventilated.” Where Fair Oaks Farms workers dragged, yanked, and brutally threw calves, FARM

standards mandate the movement of calves with “properly designed mechanical transport

devices.” And instead of allowing sick or injured downer cows to languish and suffer, FARM

standards require that “non-ambulatory animals are provided prompt medical care.”25

           85.   Both Fair Oaks Farms internal protocol and the FARM program failed to stop the

abuse and torture of animals described herein. In fact, the FARM programs’ lack of adequate

oversight enabled the abuse and torture described herein.

           86.   In addition to the above systematic animal abuse, it is common practice at all of


22
  Farmers Assuring Responsible Management, What is FARM?,
https://nationaldairyfarm.com/what-is-farm/ (last visited June 24, 2020).
23
  Jeff Daniels, Alleged animal abuse at Indiana farm, undercover video putting ‘ag-gag’ laws in
spotlight, NBR (June 13, 2019), http://nbr.com/2019/06/13/alleged-animal-abuse-at-indiana-
farm-undercover-video-putting-ag-gag-laws-in-spotlight/ (last visited June 24, 2020).
24
 Farmers Assuring Responsible Management, Animal Care Reference Manual, Version 4.0
Abbreviated, https://nationaldairyfarm.com/wp-content/uploads/2020/02/Animal-Care-V4-
Manual-Print-Friendly.pdf (last visited June 24, 2020).
25
     Id.



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Defendants’ milk suppliers to sell cows no longer able to produce optimal quantities of milk to

slaughter. Defendants know or should know that this transport, handling, and slaughter is done

by unaccountable individuals and occurs at facilities that do not purport to and do not provide

“extraordinary” care and comfort for cows. In short, Defendants treat their cows as disposable

widgets once they are of no further use to them as milk machines. Whatever (manifestly

inadequate) efforts Defendants take to ensure “extraordinary” care and comfort for its cows ends

entirely once the cows are unable to satisfy Defendants’ unnatural and physically injurious milk

production expectations.

       87.     It was and continues to be routine practice at fairlife’s milk suppliers to sell male

calves to veal operations, where the calves are confined to filthy, tiny crates for their entire,

short, and brutal lives before being sent to slaughter.          These facilities do not provide

“extraordinary” care or comfort for these calves that Defendants’ caused to be born and

intentionally place into such horrific conditions.

       88.     As a result of the ARM investigation, the Newton County Sheriff’s Office

(Indiana) launched an investigation of its own. Newton County prosecutors have filed criminal

charges against three individuals for animal cruelty and torturing or mutilating a vertebrate

animal (which is a felony).

       89.     On June 6, 2019, fairlife issued a statement acknowledging the ARM

investigation, admitting the truth of its allegations, and apologizing for its failure to ensure that

the dairy cows which produce fairlife Products were treated humanely. [F]airlife stated that it

was “devastated by the abuse that was recently discovered at Fair Oaks Farms.” It also indicated

it was discontinuing the use of milk from Fair Oaks Farms, increasing animal-welfare




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requirements, and seeking further audits by industry representatives.26 The Coca-Cola website

previously referenced these events.

           90.   Coca-Cola recognizes that its success “depends in large part on our ability to

maintain brand image of our existing products, build up brand image for new products and brand

extensions, and maintain our corporate reputation and social license to operate.”27 Coca-Cola

also recognizes that “campaigns by activists . . . could adversely impact our corporate image and

reputation.”28 Accordingly, Coca-Cola has a strong incentive to address the negative publicity

surrounding its fairlife brand created as a result of the release of ARM’s investigation and also

to develop greater oversight than it had been previously investing in ensuring that representations

concerning the Products are accurate.

           91.   Coca-Cola, for its part, stated that it “expect[s] all [its] suppliers to operate with

the highest degree of integrity and comply with all laws, including animal welfare laws” and

stated that it was “taking steps to ensure that internationally recognized animal welfare standards

are appropriately embedded into our Sustainable Agriculture Guiding Principles, our Supplier

Guiding Principles, and our auditing processes.”29

           92.   However, some or all of the abuse that Mike McCloskey admitted to have taken

26
   This is from the version of the fairlife website available on June 12, 2019, according to the
Wayback Machine, available at
https://web.archive.org/web/20190612170753/https://fairlife.com/news/fairlife-statement-
regarding-arm-video/ (last visited June 24, 2020).
27
  Coca-Cola 2019 Annual 10k at 18, available at https://investors.coca-
colacompany.com/filings-reports/annual-filings-10-k.
28
     Id.
29
   This is from the version of the Coca-Cola website available on June 7, 2019, according to the
Wayback Machine, available at
https://web.archive.org/web/20190607155428/https://www.coca-colacompany.com/press-
center/company-statements/coca-cola-company-statement-regarding-fair-oaks-farms (last visited
June 24, 2020).



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place on fairlife’s “flagship farm” will continue to occur on this and other dairy operations that

produce dairy milk for the Products. Defendants’ assurances that no such abuse will occur again

and purported actions to ensure their promise are nothing more than window dressing and will

not stop the kinds of animal abuse uncovered by ARM.

           93.   Additionally, this type of abuse and maltreatment described above was not

limited to those specific incidents documented by the ARM investigators at Fair Oaks. Instead,

these and other abuses were and are common occurrences at other facilities associated with

fairlife milk Products.

           94.   On July 23, 2019, ARM released the results of another of its undercover

investigation focused on Natural Prairie Organic Dairy (“NPOD”) located in Channing, Texas.30

According to ARM, NPOD supplies dairy directly to fairlife and is owned by Donald DeJong, a

member of the fairlife Board of Directors and Vice Chairman of Select Milk Producers, Inc.31

           95.   ARM’s investigator worked at NPOD for nearly one month “using a manure

vacuum and scraper to clean the feces in the cow holding barns.”32 The Investigator used

surveillance equipment to capture the normal daily practices on the farm.33

           96.   ARM’s investigator found ongoing, systemic, and egregious acts of animal

cruelty. Daily or commonplace practices included:



30
   Press release announcing Natural Prairie Organic Dairy investigation,
https://animalrecoverymission.org/wp-content/uploads/2019/07/CHICAGO-FINAL-1.pdf (last
visited June 24, 2020).
31
     Id.
32
   The results of ARM’s undercover investigation are available at
https://animalrecoverymission.org/wp-content/uploads/2019/07/NPD-Report.pdf (last visited
June 24, 2020).
33
     Id.



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               a.     Repeatedly beating cows to get up;34

               b.     Stabbing cows with screwdrivers;

               c.     Pulling and dragging cows by the head with front loaders; picking them up

                      by the bucket and driving them to a holding area to be sold for slaughter;

               d.     Leaving sick cows to die slowly in barns with management’s knowledge,

                      which sometimes took longer than a day;

               e.     Allowing cows to fall into cesspools such that they risked drowning;

               f.     Failing to provide veterinary care to cows with flesh wounds, eye gashes,

                      infections and/or leg injuries;

               g.     Providing inadequate euthanasia by gunshot which did not result in instant

                      death causing the cows and calves to suffer for hours prior to death.

       97.     ARM’s investigator undercover video is 6 minutes and 12 seconds in duration.35

The following footage contains the most egregious content:

               a.     Dropping a newborn calf on a concrete floor;

               b.     Flaming a cow (passing a large flame beneath dairy cows to burn off the

                      hair from udders) immediately after giving birth;

               c.     Restraining a cow and twisting its head upward with a rope;

               d.     Kicking a cow;

               e.     Tying up a downer cow;


34
  Downer cows are disabled cows that are unable to get up for more than 24 hours. See The low-
down on ‘down cows’, https://veterinary-practice.com/article/the-low-down-on-down-cows (last
visited June 24, 2020).
35
   The video footage of ARM’s undercover investigation is available at
https://animalrecoverymission.org/operation-natural-prairie-undercover-footage/ (last visited
June 24, 2020).



                                                38
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               f.      Kicking a downer cow multiple times;

               g.      Stabbing a cow with screw drivers;

               h.      Hitting a cow with a shovel;

               i.      Dragging a cow by head with a front loader;

               j.      Tying a cow into the bucket of a front loader;

               k.      Dragging a cow by rope around its head.

       98.      The ARM Investigator never observed disciplinary action in response to any

employee for animal abuse. Knowledge of the abuse was known by and among the workers,

forepersons, and upper management at all levels of Natural Prairie Organic Dairy. There were

several instances where the abuse warranted law enforcement notification, but they were never

contacted.

       99.     The supervisors failed to provide reasonable care and medical treatment for sick

and injured cows contrary to fairlife’s claims.

       100.    The ARM investigator also documented dead calves and cows at a dumpsite at

Natural Prairie Organic Dairy.

       101.    Another ARM investigation targeted Strauss Veal Feeds in Manchester, Indiana

and was released on August 13, 2019.

       102.    Straus Veal Feeds was identified as part of the June 4 investigation. During this

investigation at Fair Oaks Farms, Fair Oaks constantly stated to ARM that it did not sell bull

calves to the veal market. ARM subsequently investigated and found that bull calves from Fair

Oaks Farm are transported to Midwest Veal, owned by Strauss Veal. Not only were they hiding

this practice of selling the calves to slaughter, but the Strauss Veal Feeds investigation uncovered

that these calves, the offspring of the fairlife dairy cows, were treated just as inhumanely and




                                                  39
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violently as at the Fair Oaks Farm and the NPOD farm.36 During ARM’s investigation of

Strauss Veal, the investigator documented calves being thrown and abused, kept in tiny, cramped

crates in total darkness for up to 18 hours per day, and deprived of proper veterinary care.37

Defendants Cannot Substantiate the Labeling Claims As Abuse is Pervasive at fairlife Milk
Supplier Farms

       103.    The undercover ARM investigations demonstrate a troubling theme with fairlife’s

suppliers and members of the Select Milk cooperative: despite representations about humane

treatment, Defendants take little to no effort to ensure that these promises are actually followed.

       104.    Of the approximately 30 farms that produce milk for fairlife, most, if not all, are

members of Select Milk. Select Milk is a cooperative of approximately 99 dairy producers based

in Artesia, New Mexico. Select Milk was co-founded by Mike McCloskey. Mike McCloskey

has served as CEO of Select Milk.38

       105.    Members of Select Milk share experiences, common practices, and insider

information with each other.

       106.    Of the approximately 30 Select Milk dairy operations that supply milk for fairlife,

some are located in the Midwest (Indiana, Illinois, Ohio, Michigan, and/or other adjacent states)

and others are located in the Southwestern United States (Texas, New Mexico, Oklahoma, and/or

other adjacent states).

36
   The results of ARM’s undercover investigation are available at
https://animalrecoverymission.org/wp-content/uploads/2019/08/Operation-Strauss-Veal-Feeds-
.pdf (last visited June 24, 2020).
37
   Discussion of ARM’s undercover investigation is available at
https://animalrecoverymission.org/operations/factory-farm-division/operation-strauss-veal-feeds/
(last visited June 23, 2020).
38
   See Washington Post Live, Mike McCloskey: Co-Founder and CEO, Select Milk Producers,
https://www.washingtonpost.com/postlive/mike-
mccloskey/2012/06/27/gJQAegjADY_story.html?noredirect=on (last visited June 24, 2020).



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       107.   [F]airlife operates several facilities where the Products are processed. In addition

to a facility in Coopersville, Michigan, Defendants operated, and may still operate, a processing

facility in Dexter, New Mexico (plant code 35-0306) to produce the Products. Defendants also

have a facility in Waco, Texas and one under construction in Goodyear, Arizona.39

       108.   These processing facilities source milk for the Products from Select Milk

members.

       109.   [F]airlife maintains an office at a dairy operation located in Dexter, New Mexico.

This dairy operation is nothing like Defendants’ “flagship farm” in Indiana, and in no way

provides cows with the “extraordinary” care and comfort that Defendants’ promise in the Animal

Welfare Promises.

       110.   Public records show that as early as 2015 Defendants were sourcing, and may still

source, milk for the Products from several industry-standard feedlots in the Southwestern United

States where Defendants’ Animal Welfare Promises are not practiced. This includes, but is not

be limited to, the following dairy operations (with Plant/BTU numbers in parenthesis): Sideline

(35-19), Sideline #2 (35-24), 3V (35-45), Dan Dee (35-56), Woodcrest (35-22), Arroyo (35-26),

Vaz (35-38), Visser (35-42), Double Aught (35-59), P7 LLC (35-36), P7 LLC #2 (35-21), Organ

Dairy (35-53). Each of these farms is in relatively close proximity to Dexter, New Mexico,

where fairlife maintains a significant commercial presence.

       111.   Instead of the “extraordinary” care and comfort promised by Defendants, the

cows at these and similar dairy operations are left exposed to the elements (including during



39
  See Dave Fusaro, Coca-Cola Buys All of Fairlife Dairy Products, Food Processing (Jan. 6,
2020), https://www.foodprocessing.com/industrynews/2020/coca-cola-buys-all-of-fairlife/ (last
visited June 24, 2020).



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extreme weather events such as deadly heat waves and blizzards) on industry-standard confined

animal feeding operations that are categorically unable to meet the Animal Welfare Promises.

                   Satellite Image of fairlife’s location in Dexter, New Mexico:




       112.    As the above image shows, Defendants maintain and source from facilities that

differ markedly from the “flagship farm” that Defendants hold out as representative of their

“extraordinary” cow care and comfort. Each of the dairy operations listed two paragraphs above

are substantially similar in their inability and failure to meet the Animal Welfare Promises.

       113.    Cows housed at these and other dairy operations supplying milk for the Products

do not experience the “extraordinary” humane cow care and comfort that Defendants represent

to their customers, such as temperature control, clean and comfortable beds, individualized

veterinary care, and other claims that are not reasonably possible given the layout and structure

of these facilities. Instead, cows are kept on dirt and manure covered feed lots, without the

benefits promised in the Animal Welfare Promises.




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       114.    In addition to dairy operations that are structurally unable to provide the

“extraordinary” humane cow care and comfort as promised by Defendants, other Select Milk

members in the Southwest engage in egregious animal cruelty like that uncovered by ARM’s

investigators at fairlife’s “flagship” farm in Indiana.

       115.    As discussed above, Animal Rescue Mission conducted another undercover

investigation of a Select Milk dairy operation from March to July of 2019, this time located in

Channing, Texas.40 The ARM investigator uncovered egregious animal abuse, similar to that

documented in ARM’s previously released investigations. Cows were kicked, prodded with

screwdrivers, and beaten when too weak to move; cows were left to suffer from injuries and

other painful maladies; calves were cruelly pulled from their mothers moments after birth and

thrown into bins and then confined alone to tiny hutches; cows were left to wallow in their own

feces, blood, and urine; and cows had their abdomens cut open to install “portholes.”

       116.    ARM’s investigator reported that this dairy operation is riddled with camera

surveillance, but the documented abuse was rampant anyway.

       117.    Adding camera surveillance at Select Milk dairy operations will not stop the types

of systematic abuse of cows and calves uncovered by the numerous ARM investigations.

       118.    The site of this additional ARM investigation, Natural Prairie organic dairy farm,

is owned by Donald DeJong. Donald DeJong is affiliated with fairlife and the McCloskeys. In




40
  Video released by ARM documenting this “organic” Select Milk member’s systemic abuse of
their cows can be found at https://vimeo.com/349554589 (last visited June 18, 2020).




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addition to his roles at fairlife and Select Milk,41 DeJong is also affiliated with DeJong Family

Farms, a dairy operation located near Fair Oaks, Indiana that produces milk used in the Products.

         119.   Like other Select Milk farms, Natural Prairie organic dairy has participated in the

FARM program and used by fairlife to purportedly ensure proper animal care on its producer

farms.

         120.   The FARM program, which requires only baseline industry standards, failed to

ensure even these rudimentary animal welfare standards were followed much less the

“extraordinary” cow care and comfort promised by Defendants, as exposed by ARM’s

investigations and Defendants’ own statements.

Animal Welfare and Defendants’ Animal Welfare Promises Are Material to Consumers

         121.   Meat and dairy companies increasingly make representations and promises about

providing high quality and humane animal-welfare in connection with their products, because

they have discovered that those representations and promises increase sales, allow them to

charge higher prices, or both. Animal-welfare representations and promises are profitable,

because consumers care about the treatment of the animals that their food comes from.

Consumers are more likely to buy a product, and will pay more for it, if the animals it comes

from were treated humanely.

         122.   Numerous studies conducted by third parties have confirmed the fact that animal

welfare matters to consumers.

         123.   In one survey published in 2010, 68% of consumers agreed or strongly agreed




41
  Our Family Farm, Natural Prairie Dairy, https://naturalprairiedairy.com/our-story/ (last visited
June 24, 2020).



                                                44
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they would like to know more about “ways [farmers] ensure animal care.”42 That was the

second-highest rate of agreement, behind only “measures used to produce safe food.”

       124.    Another 2010 study found “that consumers desire high standards of animal care,

even if it raises food prices and involves government regulation.”43

       125.    A study published by the Animal Humane Association in 2014, indicated that

concerns may be increasing among consumers. For instance, it found that 94.9% of survey

participants “stated they were very concerned about farm animal welfare,” up from 89% the year

before. Similarly, “75.7% stated that they were very willing to pay more for humanely raised

meat, dairy and eggs,” which was an increase from 74% the year before. Additionally, the most

important labeling attribute to consumers was “humanely raised,” including over labels such as

“antibiotic free,” “natural,” and “organic.”44

       126.    Walmart announced in 2015 that its own research showed that 77% of its

shoppers would increase their trust of, and 66% would increase their likelihood to shop at, a

retailer that improved the treatment of livestock.45

       127.    One 2018 survey found that 77% of consumers were concerned about animal

42
  What “Indicator Consumers” Want to Know Most About How U.S. Foods Are Produced,
SEGMENTrak (June 2010), available at https://cdn.brownfieldagnews.com/wp-
content/uploads/2010/04/REVFINAL.SegmenTrakExecSummary.4.28.10.pdf (last visited June
24, 2020).
43
   RW Prickett et al., Consumer Preferences for Farm Animal Welfare: Results from a Telephone
Survey of US Households, Animal Welfare (Aug. 2010), available at
https://www.ingentaconnect.com/contentone/ufaw/aw/2010/00000019/00000003/art00015 (last
visited June 24, 2020).
44
   2014 Humane Heartland Farm Animal Welfare Survey, available at
https://www.americanhumane.org/app/uploads/2016/08/2014-humane-heartland-farm-survey.pdf
(last visited June 24, 2020).
45
  Christine M. Boynton, Wal-Mart’s Push on Animal Welfare Hailed as Game Changer, Fox 5
News, https://foxbaltimore.com/news/local/wal-mart39s-push-on-animal-welfare-hailed-as-
game-changer (last visited June 24, 2020).



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welfare as it relates to their food, more than 66% of consumers paid some or a lot of attention to

food labels regarding how the animal was raised, and over 70% of retailers stocking products

with humane claims reported increased sales.46

       128.    Finally, a 2015 Consumer Reports survey found that consumers deem it important

that food not be produced via standard factory-farm methods with an overwhelming 84% of food

shoppers indicating that it was “important” or “very important” to “provid[e] better living

conditions for animals.”47

       129.    [F]airlife itself has acknowledged the importance of animal welfare to its

consumers. In an interview conducted after public revelation of animal abuse at Fair Oaks

Farms, fairlife COO Tim Doelman stated that “this whole company . . . [is] built on great animal

welfare.”48

       130.    Accordingly, fairlife’s marketing of its Products as humanely treating the animals

used to produce the Products is material to the reasonable consumer. Reasonable consumers

would not expect that Products labeled with the promises by fairlife discussed herein would be

produced through inhumane treatment of animals as described above, nor would those

consumers expect that—after making the Animal Welfare Promises—fairlife and Defendants

would fail to ensure the ethical treatment of all of their dairy cows (especially the ones at the


46
  Alicia Kelso, Consumers Are Willing to Pay a Premium for Animal Welfare Certifications,
Grocery Dive (July 17, 2018), https://www.grocerydive.com/news/grocery--consumers-are-
willing-to-pay-a-premium-for-animal-welfare-certifications/533852/ (last visited June 24, 2020).
47
   CONSUMER REPORTS NATIONAL RESEARCH CENTER, Natural Food Labels Survey, available at
https://article.images.consumerreports.org/prod/content/dam/cro/magazine-
articles/2016/March/Consumer_Reports_Natural_Food_Labels_Survey_2015.pdf at 3.
48
   fairlife COO Speaks Out After Release of Undercover Videos, NBC Chicago (June 7, 2019),
https://www.nbcchicago.com/multimedia/web-fairlife-coo-interview_Chicago-510995412.html
(last visited June 24, 2020).



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“flagship farm”).

       131.    The marketplace’s reaction to the public revelation of animal abuse at Fair Oaks

Farms further demonstrates the importance to consumers of humane animal treatment.

Numerous retailers stopped or suspended selling the Products as a result of the animal abuse.

       132.    Customers pay a premium expecting not only that the Products they are

purchasing are made by dairy cows that are treated humanely, but also by partnerships and

companies that ensure their promises for the ethical and humane treatment of animals are

followed at all of the farms that supply the fairlife Products.

       133.    Defendants’ failure to ensure that its Animal Welfare Promises were followed

even at the flagship farm demonstrate that consumers who purchased fairlife Products did not

receive the benefit of their bargain—that the company would ensure that any consumers who

purchase fairlife Products can be confident that they are supporting a business that ensures the

humane and ethical treatment of their dairy cows. It is thus unnecessary for consumers to

demonstrate that every drop of milk in each of their purchased Products was produced by a

beaten, sick, dying or otherwise mistreated cow; Defendants’ failure to live by their promises as

it concerns the flagship farm is sufficient.




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                                 CLASS ACTION ALLEGATIONS

       134.       Pursuant to Rules 23(b)(2), (b)(3), and, as applicable, (c)(4) of the Federal Rules

of Civil Procedure, Plaintiffs bring this lawsuit on behalf of themselves and the following Class

of individuals:

                  All persons who purchased Defendants’ fairlife Products within the
                  United States (the “Nationwide Class”).

       135.       Pursuant to Rules 23(b)(2), (b)(3), and, as applicable, (c)(4) of the Federal Rules

of Civil Procedure, Plaintiffs also bring causes of action, as listed herein, on behalf of

Nationwide Class.

       136.       Additionally, as further descried herein, Plaintiffs bring claims based upon state

consumer protection laws on behalf of the following subclasses for the states of California,

Connecticut, Florida, Georgia, Illinois, Maryland, Michigan, Minnesota, Missouri, New York,

Pennsylvania, Texas, Virginia, Wisconsin:

                  All persons who purchased Defendants’ fairlife or Products in that
                  particular state or commonwealth.

       137.       Excluded from the above Class and subclasses are Defendants, any entity in

which Defendants have a controlling interest or that has a controlling interest in Defendants, and

Defendants’ legal representatives, assignees, and successors. Also excluded are those who

purchased the Products for resale; all persons who make a timely election to be excluded from

the Class; and the judicial officers and staff to whom this case is assigned and any immediate

family members thereof.

       138.       Numerosity: The members of the Class are so numerous that individual joinder

of all Class members is impracticable. Defendants have sold many thousands of units of the

Products to Class members.




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       139.    Commonality and Predominance: This action involves common questions of

law and fact, which predominate over any questions affecting individual Class members,

including, without limitation:

               a.      Whether the representations discussed herein that Defendants made about
                       the Products were or are true, misleading, or likely to deceive a reasonable
                       consumer;

               b.      Whether Defendants exercised any control, oversight, or otherwise
                       routinely inspected farms that sourced milk for their Products to ensure
                       that the representations they made concerning the humane treatment of
                       animals were true;

               c.      Whether the representations discussed herein were material to a
                       reasonable consumer;

               d.      Whether Defendants engaged in false or misleading advertising;

               e.      Whether Defendants’ conduct constitutes violations of the laws asserted
                       herein;

               f.      Whether Plaintiff and the other Class members have been injured and the
                       proper measure of their losses as a result of those injuries; and

               g.      Whether Plaintiff and the other Class members are entitled to injunctive,
                       declaratory, or other equitable relief.

       140.    Typicality: Plaintiffs’ claims are typical of those of the other Class members

because, among other things, Plaintiffs and all Class members were comparably injured through

the uniform conduct described herein.

       141.    Adequacy: Plaintiffs are adequate representatives of the Class because their

interests do not conflict with the interests of the other Class members Plaintiffs seek to represent;

Plaintiffs have retained counsel competent and experienced in complex commercial and class

action litigation; and Plaintiffs intend to prosecute this action vigorously. The interests of the

Class members will be fairly and adequately protected by Plaintiffs and their counsel.

       142.    Declaratory and Injunctive Relief: Defendants have acted or refused to act on



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grounds generally applicable to Plaintiffs and the other Class members, thereby making

appropriate final injunctive relief and declaratory relief, as described below, with respect to Class

as a whole.

       143.     Superiority: A class action is superior to any other available means for the fair

and efficient adjudication of this controversy, and no unusual difficulties are likely to be

encountered in the management of this class action. The damages or other financial detriment

suffered by Plaintiffs and the other class members are relatively small compared to the burden

and expense that would be required to individually litigate their claims against Defendants,

making it impracticable for class members to individually seek redress for Defendants’ wrongful

conduct. Even if class members could afford individual litigation, the court system could not.

Individualized litigation creates a potential for inconsistent or contradictory judgments, and

increases the delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties, and provides the benefits of single

adjudication, economies of scale, and comprehensive supervision by a single court.

                                      CAUSES OF ACTION

              CLAIMS BROUGHT ON BEHALF OF THE NATIONWIDE CLASS

                                 FIRST CLAIM FOR RELIEF
                                  Breach of Express Warranty
                              By All Plaintiffs Against All Defendants

       144.     Plaintiffs reassert the allegations set forth in paragraphs 1 through 143 and

incorporate such allegations by reference herein.

       145.     Each of the named Plaintiffs bring this cause of action against Defendants on

behalf of the Nationwide Class and, in the alternative, state subclasses based upon the states in

which they purchased fairlife Products.




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       146.    The laws of the states in which Plaintiffs purchased fairlife Products are

substantially similar so as to warrant certification of a Nationwide Class or, in the alternative, the

certification of state subclasses as to particular elements of Plaintiffs’ breach of warranty claims.

       147.    Express warranties by sellers of consumer goods are created when an affirmation

of fact or promise is made by the seller to the buyer, which relates to the goods and becomes the

basis of the bargain. Such warranties can also be created based upon descriptions of the goods

which are made as part of the basis of the bargain that the goods shall conform to the description.

See, e.g., Cal. Com. Code § 2313(1)(a)-(b); Fla. Stat. Ann. § 672.313(1)(a)-(b); Ga. Code Ann. §

11-2-313(1)(a)-(b); 810 ICLS 5/2-313(1)(a)-(b); Ind. Code Ann. § 26-1-2-313(1)(a)-(b); Md.

Code Ann. § 2-313(1)(a)-(b); Mich. Comp. Laws Ann. § 440.2313(1)(a)-(b); Minn. Stat. Ann. §

336.2-313(1)(a)-(b); Mo. Ann. Stat. § 400.2-313(1)(a)-(b); N.Y. U.C.C. Law § 2-313(1)(a)-(b);

13 Pa. Stat. and Cons. Stat. Ann. § 2313(a)(1)-(2); Tex. Bus. & Com. Code Ann. § 2.313(a)(1)-

(2); Va. Code Ann. § 8.2-313(1)(a)-(b); Wis. Stat. Ann. § 402.313(1)(a)-(b). Other state laws are

substantially similar to warrant certification of the Nationwide Class.

       148.    Each of the Plaintiffs formed a contract with fairlife, the McCloskey Defendants,

and Coca-Cola and Select Milk—by virtue of their joint venture in creating fairlife—at the time

they purchased the Products. The terms of that contract include the promises and affirmations of

fact that Defendants make on the Products’ packaging and through marketing and advertising,

including the Animal Welfare Promises described above and the very name of the Products,

“fairlife.” The marketing and advertising constitute express warranties and became part of the

basis of the bargain, and they are part of the standardized contracts between Plaintiffs and Class

members on the one hand, and the Defendants, on the other.

       149.    In addition, or in the alternative, to the formation of an express contract,




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Defendants made each of their above-described representations, including the Animal Welfare

Promises and name of the Products as “fairlife,” to induce Plaintiffs and Class members to rely

on such representations.

       150.    Defendants Animal Welfare Promises were material, and Plaintiffs and

Nationwide Class members did rely and were reasonable in relying upon such representations in

making their purchases of the Products.

       151.    [F]airlife, Coca-Cola, Select Milk and the McCloskey Defendants have breached

their express warranties about the Products because the representations set forth herein, including

the Animal Welfare Promises and express representations concerning how Defendants ensure the

humane treatment of livestock, are false and misleading. They are false and misleading because

Defendants could not live up to the promises made by the very name of the Products themselves,

“fairlife,” or the promises of “[e]xtraordinary care and comfort for our cows,” that the dairy

farms from which products are sourced “provide extraordinary animal care,” that “exceptional

care [is] taken every step of the way,” among other Animal Welfare Promises made on each and

every label of the Products.

       152.    Defendants utterly failed to ensure that the material representations they were

making to consumers were true. As a result of this systemic failure of oversight to ensure the

truthfulness of the representations of every Product label, consumers purchased Products from a

company that sourced dairy from farms that mistreated their dairy cows in violation of the

express agreement that it created with its consumers.

       153.    Defendants could not make Animal Welfare Promises to consumers because they

could not verify whether those promises were accurate. Nor did they enforce these promises

through adequate oversight. Accordingly, Defendants charged consumers a price premium for




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express—but empty—promises.

         154.   [F]airlife, Coca-Cola, Select Milk, and the McCloskey Defendants breached their

express warranties about the Products because the representations as set forth herein were false

and misleading.

         155.   Plaintiffs and Nationwide Class members expected and would have been

reasonable in expecting that Defendants’ ensured the statements on the Products’ labels were

truthful such that dairy cows were treated humanely when purchasing fairlife Products;

accordingly, they did not receive the benefit of their bargain when they discovered that at least

some of Defendants’ dairy cows were abused, neglected, and treated in a cruel and inhumane

manner evidencing a lack of oversight.

         156.   On April 29, 2020, a reasonable time after they knew or should have known of

such breach, Plaintiffs, on behalf of themselves and the other members of the Nationwide Class,

sent a notice letter to Defendants, which provided notice of Defendants’ breach and demanded

that Defendants correct, repair, replace, or otherwise rectify the breach complained of herein.

         157.   Defendants also have notice of the breaches as set forth herein by virtue of news

reports concerning animal abuse at Select Milk facilities.

         158.   As a result of Defendants’ breaches of their express warranties, Plaintiffs and the

Nationwide Class members were damaged in the amount of the price they purchased for the

Products, or in an amount equal to the price premium that they paid when they purchased the

Products, in an amount to be proven at trial.

         159.   Plaintiffs, on behalf of themselves and class members, pray for relief as set forth

below.

                                SECOND CLAIM FOR RELIEF
                                    Unjust Enrichment



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                              By All Plaintiffs Against All Defendants

        160.    Plaintiffs reassert the allegations set forth in paragraphs 1 through 143 and

incorporate such allegations by reference herein.

        161.    Plaintiffs bring this claim for unjust enrichment against Defendants in the

alternative to their breach of express warranty claim.

        162.    Plaintiffs and Nationwide Class members conferred benefits on Defendants by

purchasing the Products, including by paying a price premium for the Products.

        163.    Defendants have been unjustly enriched by retaining the revenues derived from

Plaintiffs and the Nationwide Class members’ purchases of the Products. Retention of the

monies under these circumstances is unjust and inequitable because Defendants’ labeling of the

Products was misleading to consumers, which caused injuries to Plaintiffs and the Nationwide

Class members because they would not have purchased or would have paid less for the Products

if they had known the true facts.

        164.    Select Milk retained a benefit despite not ensuring that it lived up to its promises,

including providing “extraordinary animal care and comfort” to the dairy cows that produce milk

for fairlife Products.

        165.    Coca-Cola retained a benefit despite not exercising adequate oversight over

operations that source dairy for the fairlife Products.

        166.    [F]airlife retained a benefit through the profits it retained in spite of its failure to

ensure that dairy cows are treated humanely in sourcing milk Products.

        167.    The McCloskey Defendants retained a benefit despite their promises to consumers

about the fair, ethical, and humane treatment of dairy cows.

        168.    Because Defendants’ retention of the non-gratuitous benefits conferred on them




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by Plaintiffs and the Nationwide Class members is unjust and inequitable, Plaintiffs and the

Nationwide Class members seek restitution of all monies Defendants acquired from their

unlawful conduct, including disgorgement of all profits and establishment of a constructive trust.

       169.      Therefore, Plaintiffs pray for relief as set forth below.


                                THIRD CLAIM FOR RELIEF
              Violation of Georgia’s Uniform Deceptive Trade Practices Act,
                               Ga. Code Ann. § 10-1-370, et seq.
                               By All Plaintiffs Against Coca-Cola
          By Plaintiff Jones on Behalf of the Georgia Subclass Against All Defendants

       170.      Plaintiffs reassert the allegations set forth in paragraphs 1 through 143 and

incorporate such allegations by reference herein.

       171.      All Plaintiffs bring this cause of action against Defendant Coca-Cola on behalf of

the Nationwide Class. Plaintiff Jones also bring this cause of action on behalf of herself and the

Georgia Subclass.

       172.      Under Georgia’s Uniform Deceptive Trade Practices Act, Ga. Code Ann. § 10-1-

370, et seq. (“GUDTPA”):

       (a) A person engages in a deceptive trade practice when, in the course of his
       business, vocation, or occupation, he:

           ...

           (5) Represents that goods or services have sponsorship, approval,
           characteristics, ingredients, uses, benefits, or quantities that they do not
           have . . . ;

           ...

           (7) Represents that goods or services are of a particular standard, quality,
           or grade or that goods are of a particular style or model, if they are of
           another;

           ...




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           (9) Advertises goods or services with intent not to sell them as advertised;

           . . . or

           (12) Engages in any other conduct which similarly creates a likelihood of
           confusion or of misunderstanding.

Ga. Code Ann. § 10-1-372(a)(5), (7), (9), (12).

       173.     Coca-Cola engaged in deceptive trade practices in violation of the GUDTPA,

including the following:

                i.     representing that goods have characteristics and/or benefits that they do
                       not have (e.g., that the animals which are used to create the Products are
                       treated humanely), Ga. Code Ann. § 10-1-372(a)(5);

                ii.    representing that goods are of a particular standard, quality, or grade if
                       they are of another (e.g., that the Products were produced from humanely-
                       treated animals), Ga. Code Ann. § 10-1-372(a)(7);

                iii.   advertising goods with intent not to sell them as advertised (e.g.,
                       advertising that the Products would be derived from humanely-treated
                       animals when they were not), Ga. Code Ann. § 10-1-372(a)(9); and

                iv.    engaging in other conduct which similarly creates a likelihood of
                       confusion or of misunderstanding, as discussed herein, Ga. Code Ann. §
                       10-1-372(a)(12).

       174.     The misrepresentations and material omissions described in the preceding

paragraph were material and made intentionally and knowingly with the intent that Plaintiffs and

Class members rely upon them in connection with purchasing the Products.

       175.     The misrepresentations and material omissions as alleged herein were created in

and disseminated from Coca-Cola’s headquarters located in Georgia.               Additionally, any

oversight obligations that Coca-Cola had emanated from its headquarters in Georgia.

       176.     At all times relevant hereto, Coca-Cola owned a substantial portion of fairlife, and

directed its marketing and representations concerning the humane treatment of dairy cows used

to make the Products, which were in the Animal Welfare Promises and brand name “fairlife” on



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each and every label of the Products.

       177.      Coca-Cola made these misrepresentations and material omissions directly with

respect to Plaintiffs and Class members and by way of transactions involving the Products.

       178.      Coca-Cola knew or was reckless in not knowing about its misrepresentations and

material omissions regarding the treatment of animals associated with the Products.

       179.      Coca-Cola’s deceptive and unfair acts and practices were likely to and did in fact

deceive the public at large as well as their customers—both across the United States and in the

State of Georgia—who paid materially more for the Products because of Coca-Cola’s

misrepresentations and material omissions regarding the treatment of animals associated with the

Products.

       180.      Coca-Cola’s misrepresentations and omissions were material because consumers

were willing to, and in fact did, pay more for the Products based upon misrepresentations and

omissions regarding the treatment of animals associated with the Products.

       181.      All Defendants are responsible for misrepresentations concerning the humane

treatment of dairy cows in the creation of the fairlife Products, as described herein, in

transactions by consumers within the State of Georgia.

       182.      Plaintiffs and Class members relied and were reasonable in relying upon the

misrepresentations and omissions to their detriment, and they did not receive the benefit of their

bargains in purchasing Products.

       183.      Had Plaintiffs and the Class members known of the misrepresentations and

omissions, they either would not have purchased the Products or would have paid significantly

less for them.

       184.      Defendants acted intentionally, knowingly, and maliciously to violate the




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GUDTPA and recklessly disregarded the promises they made to Plaintiffs and Class members.

Defendants acts and practices affect the consumer marketplace and public interest, because they

had a direct impact upon pricing of the Products at issue, competitors’ products, and consumers’

purchasing decisions.

       185.    As a direct and proximate result of Defendants’ violations of the GUDTPA,

Plaintiffs and Class members suffered injury in fact, as described herein.

       186.    Pursuant to section 10-1-373 of the GUDTPA, Plaintiffs and Class members seek

declaratory relief, injunctive relief, attorneys’ fees and costs, and any other relief that the Court

deems necessary and proper.

       187.    Therefore, Plaintiffs pray for relief as set forth below.

                               FOURTH CLAIM FOR RELIEF
                Violation of Georgia’s Fair Business Practices Act of 1975,
                               Ga. Code Ann. § 10-1-390, et seq.
                               By All Plaintiffs Against Coca-Cola
          By Plaintiff Jones on Behalf of the Georgia Subclass Against All Defendants

       188.    Plaintiffs reassert the allegations set forth in paragraphs 1 through 143 and

incorporate such allegations by reference herein.

       189.    All Plaintiffs bring this cause of action against Defendant Coca-Cola on behalf of

the Nationwide Class. Plaintiffs Jae Jones and Jenny Rossano bring this cause of action on

behalf of themselves and the Georgia Subclass.

       190.    Plaintiffs bring this claim against Coca-Cola nationwide and Plaintiffs Jones and

Rossano bring this claim against all Defendants for violation of Georgia’s Fair Business

Practices Act of 1975, Ga. Code Ann. § 10-1-390 et seq. (“GFBPA”).

       191.    Plaintiffs bring this claim for the public benefit, to promote the public interests in

the provision of truthful, fair information to allow consumers and the public at large to make




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informed decisions about their purchasing choices related to food products, and to protect the

public from the Coca-Cola and Defendants’ unfair methods of competition and unfair, deceptive,

fraudulent, unconscionable, and unlawful practices described herein.

       192.   Defendants are engaged in, and their acts and omissions affect, trade and

commerce under Georgia Code section 10-1-392(28).

       193.   Defendants are engaged in “consumer acts or practices,” which are defined as

“acts or practices intended to encourage consumer transactions” under Georgia Code section 10-

1-392(7).

       194.   Defendants’ acts, practices, and omissions at issue in this matter were directed at

Product purchasers in Georgia, and Coca-Cola’s actions emanated from its headquarters in

Georgia.

       195.   Defendants engaged in “[u]nfair or deceptive acts or practices in the conduct of

consumer transactions and consumer acts or practices in trade or commerce” in violation of

Georgia Code section 10-1-393(a). Those acts and practices include those expressly declared

unlawful by Georgia Code section 10-1-393(b), such as:

              i.      representing that goods have characteristics that they do not have (e.g.,
                      that the animals which are used to create the Products are treated
                      humanely);

              ii.     representing that goods are of a particular standard, quality, or grade if
                      they are of another (e.g., that the Products were produced from humanely-
                      treated animals); and

              iii.    advertising goods with intent not to sell them as advertised (e.g.,
                      advertising that the Products would be derived from humanely-treated
                      animals when they were not).

       196.   In addition, Defendants engaged in the unfair and deceptive acts and practices

described herein that, while not expressly declared unlawful by Georgia Code section 10-1-




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393(b), are prohibited by Georgia Code section 10-1-393(a).

       197.   Defendants engaged in “[u]nfair or deceptive acts or practices in the conduct of

consumer transactions and consumer acts or practices in trade or commerce [which] are . . .

unlawful,” including:

              i.        deceptively advertising that the Products are derived from humanely-
                        treated animals;

              ii.       including language on the Products stating that animals associated with the
                        Products are treated humanely and calling the Products “fairlife,”
                        promising that the animals are living a fair and humane life;

              iii.      using “false exemplar” farms, with conditions that were designed to
                        mislead consumers about the actual living conditions and treatment of
                        animals associated with the Products;

              iv.       promising consumers that auditing processes were used to monitor living
                        conditions of animals associated with the Products;

              v.        making false and misleading statements, including material omissions, as
                        described throughout this complaint.

       198.   The misrepresentations and material omissions described in the preceding

paragraph were material and made intentionally and knowingly with the intent that Plaintiffs and

Class members rely upon them in connection with purchasing the Products—by all Defendants

with the intent that Georgia consumers rely upon the misrepresentations, and by Coca-Cola for

consumers nationwide.

       199.   Defendants made these misrepresentations and material omissions directly with

respect to Plaintiffs and Class members and by way of transactions involving the Products.

       200.   Defendants knew or were reckless in not knowing about their misrepresentations

and material omissions regarding the treatment of animals associated with the Products.

       201.   Defendants’ deceptive and unfair acts and practices were likely to and did in fact

deceive the public at large as well as their customers—who are Georgia Subclass members—



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who paid materially more for the Products because of the Defendants’ misrepresentations and

material omissions regarding the treatment of animals associated with the Products.

       202.      Coca-Cola’s deceptive and unfair acts and practices were likely to and did in fact

deceive the public at large as well as their customers—nationwide—who paid materially more

for the Products because of the Coca-Cola’s misrepresentations and material omissions regarding

the treatment of animals associated with the Products.

       203.      Defendants’ misrepresentations and omissions were material because consumers

were willing to and in fact did pay more for the Products based upon Defendants’

misrepresentations and omissions regarding the treatment of animals associated with the

Products.

       204.      Plaintiffs and Class members relied and would be reasonable in relying upon

Defendants’ misrepresentations and omissions to their detriment, and they did not receive the

benefit of their bargains in purchasing Products.

       205.      Had Plaintiffs and Class members known of Defendants’ misrepresentations and

omissions, they either would not have purchased the Products or would have paid significantly

less for them.

       206.      Defendants acted intentionally, knowingly, and maliciously to violate the GFBPA

and recklessly disregarded the promises they made to Plaintiffs and Class members. Defendants’

acts and practices affect the consumer marketplace and public interest, because they had a direct

impact upon pricing of the Products at issue, competitors’ products, and consumers’ purchasing

decisions.

       207.      As a direct and proximate result of Defendants’ violations of GUDTPA, Plaintiffs

and Class members suffered injury in fact, as described herein.




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       208.    The GFBPA permits any person who suffers injury or damages as a result of the

violation of its provisions to bring an action against the person or persons engaged in such

violations. Ga. Code Ann. § 10-1-399(a).

       209.    Pursuant to Georgia Code section 10-1-399(b), Plaintiffs, represented by the

undersigned, provided Defendants with a written demand for relief describing the unfair or

deceptive practice described herein. More than 30 days have elapsed, and Defendants have not

made written tender of settlement.

       210.    Pursuant to section 10-1-399(a) of the GFBPA, on behalf of the Class, Plaintiffs

seek actual damages, declaratory relief, injunctive relief, rescission, pre-judgment interest,

exemplary damages, attorney’s fees and costs, and any other relief that the Court deems

necessary and proper as again Coca-Cola nationwide, and as against all Defendants for purchases

in the State of Georgia.

       211.    Therefore, Plaintiffs pray for relief as set forth below.

                                FIFTH CLAIM FOR RELIEF
      Violation of the Illinois Consumer Fraud and Deceptive Business Practices Act,
                                    815 ILCS 505/1, et seq.
                                 By All Plaintiffs Against fairlife
       By Plaintiff Diana Tait on Behalf of the Illinois Subclass Against All Defendants

       212.    Plaintiffs reassert the allegations set forth in paragraphs 1 through 143 and

incorporate such allegations by reference herein.

       213.    All Plaintiffs bring this cause of action against Defendant fairlife on behalf of the

Nationwide Class. Alternatively, Plaintiff Diana Tait brings this cause of action on behalf of

herself and the Illinois Subclass.

       214.    Plaintiff asserts that the Defendants violated Illinois Consumer Fraud and

Deceptive Business Practices Act, 815 ILCS 505/1 et seq. (“ICFA”), which prohibits the use of




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“unfair and deceptive practices” in the conduct of trade or commerce. The ICFA is to be

liberally construed to effectuate that purpose.

       215.    Plaintiff Tait and the Class and Illinois Subclass members are consumers as

defined in 815 ILCS 505/1(c) and (e).

       216.    Defendants intended that Plaintiffs and the Class members would rely upon their

deceptive conduct, including the Animal Welfare Promises and brand name “fairlife,” and a

reasonable person would in fact be misled by this deceptive conduct.

       217.    Defendants’ misconduct, including the misrepresentations and the omission of

material facts, took place in the course of trade or commerce in Illinois, arose out of transactions

that occurred in Illinois, and/or harmed individuals located in Illinois.

       218.    [F]airlife’s activities and actions—in particular, its misrepresentations and

omissions regarding the humane treatment of animals and its actions regarding marketing of the

fairlife products—emanated from the State of Illinois.

       219.    By undertaking the conduct at issue herein, the Defendants have engaged in unfair

or deceptive acts prohibited by the ICFA.

       220.    If not for the Defendants’ deceptive and unfair acts, including Defendants’ false

and misleading Animal Welfare Promises and branding of the Products as “fairlife” as alleged

herein, Plaintiffs and the Nationwide Class and Illinois Subclass members would not have

purchased the Products or would have paid significantly less for them.

       221.    Defendants, at all relevant times, knew or should have known that Plaintiffs and

the Nationwide Class and Illinois Subclass members did not know and could not have reasonably

discovered their deceptive and unfair acts, including their false and misleading Animal Welfare

Promises and branding of the Products as “fairlife,” prior to their purchases of the Products.




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        222.       As a direct and proximate result of Defendants’ violations of the ICFA, Plaintiffs

and the Nationwide Class and Illinois Subclass members sustained damages in an amount to be

proven at trial.

        223.       In addition, Defendants’ conduct showed malice, motive, and the reckless

disregard of the truth such that on account of Defendants’ conduct, Plaintiffs and the Nationwide

Class and Illinois Subclass members seek statutory and actual damages, punitive damages,

injunctive relief, attorneys’ fees and costs, and all other relief allowed under the ICFA.

        224.       Therefore, Plaintiffs pray for relief as set forth below.


                                   SIXTH CLAIM FOR RELIEF
                  Violation of Illinois Uniform Deceptive Trade Practices Act
                                      815 ILCS § 510/2, et seq.
                                   By All Plaintiffs Against fairlife
               Plaintiff Tait on Behalf of the Illinois Subclass Against All Defendants

        225.       Plaintiffs reassert the allegations set forth in paragraphs 1 through 143 and

incorporate such allegations by reference herein.

        226.       Plaintiffs assert this cause of action individually and on behalf of the Nationwide

Class against fairlife, and Plaintiff Tait asserts this cause of action individually and on behalf of

the Illinois Subclass.

        227.       Defendants are “persons” as defined by 815 ILCS §§ 510/1(5).

        228.       Defendants engaged in deceptive trade practices in the conduct of their business,

in violation of 815 ILCS §§ 510/2(a), including knowingly manufacturing, advertising, and

selling Products with Animal Welfare Promises and the brand name “fairlife” while knowing

that those promises are not true, that Defendants are unable to keep or enforce those promises,

and did not have adequate protocols, oversight, or control in place to ensure that those promises

are kept to consumers.



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       229.    [F]airlife’s and Defendants’ representations and omissions were material because

they were likely to deceive reasonable consumers.

       230.    The above unfair and deceptive practices and acts by fairlife and Defendants were

immoral, unethical, oppressive, and unscrupulous.        These acts caused substantial injury to

Plaintiffs and Class members that they could not reasonably avoid; this substantial injury

outweighed any benefits to consumers or to competition.

       231.    As a direct and proximate result of Defendants’ deceptive acts and practices,

Plaintiffs and Class members have suffered and will continue to suffer injury, ascertainable

losses of money or property, and monetary and non-monetary damages, including from not

receiving the benefit of their bargain in purchasing the Products.

       232.    Plaintiffs are entitled to such injunctive relief to ensure that the Products conform

to the Animal Welfare Promises and the brand name “fairlife” that Defendants made about the

Products.

       233.    Plaintiffs and Class members seek all monetary and non-monetary relief allowed

by law, including injunctive relief and reasonable attorney’s fees.


                              SEVENTH CLAIM FOR RELIEF
                   Violation of the Indiana Deceptive Consumer Sales Act,
                            Ind. Code Ann. § 24-5-0.5-0.1, et seq.
                      By All Plaintiffs Against the McCloskey Defendants

       234.    Plaintiffs reassert the allegations set forth in paragraphs 1 through 143 and

incorporate such allegations by reference herein.

       235.    All Plaintiffs bring this cause of action against the McCloskey Defendants on

behalf of the Nationwide Class.

       236.    Plaintiffs bring this claim on behalf of the Class members for violation of the




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Indiana Deceptive Consumer Sales Act, Ind. Code Ann. § 24-5-0.5-0.1, et seq.

       237.      Under the Indiana Deceptive Consumer Sales Act, the term “consumer

transaction” means:

                 [A] sale . . . of an item of personal property . . . to a person for
                 purposes that are primarily personal, familial, charitable,
                 agricultural, or household, or a solicitation to supply any of these
                 things.

Ind. Code Ann. § 24-5-0.5-2(a)(1).

       238.      Under the Indiana Deceptive Consumer Sales Act, the term “supplier” means, in

relevant part:

                 A seller, lessor, assignor, or other person who regularly engages in
                 or solicits consumer transactions . . . . The term includes a
                 manufacturer, wholesaler, or retailer, whether or not the person
                 deals directly with the consumer.

Ind. Code Ann. § 24-5-0.5-2(a)(3)(A).

       239.      Defendants are each a “supplier” with the meaning of Indiana Code section 24-5-

0.5-2(a)(3)(A) because they are each a seller who regularly engages in or solicits sales of items

of personal property (including the Products) to persons, including Plaintiffs, for purposes that

are primarily personal, familial, or household. Nationwide Class members also purchased the

Products for primarily personal, familiar, or household purposes.

       240.      Under the Indiana Deceptive Consumer Sales Practices Act:

       A supplier may not commit an unfair, abusive, or deceptive act, omission, or
       practice in connection with a consumer transaction. Such an act, omission, or
       practice by a supplier is a violation of this chapter whether it occurs before,
       during, or after the transaction. An act, omission, or practice prohibited by this
       section includes both implicit and explicit misrepresentations.

Ind. Code Ann. § 24-5-0.5-3(a).

       241.      Defendants violated Indiana Code section 24-5-0.5-3(a) by engaging in the unfair,




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abusive, and/or deceptive acts discussed herein, including the false and misleading Animal

Welfare Promises and branding of the Products as “fairlife.”

       242.   Under the Indiana Deceptive Consumer Sales Practices Act:

       (b) Without limiting the scope of subsection (a), the following acts, and the
       following representations as to the subject matter of a consumer transaction, made
       orally, in writing, or by electronic communication, by a supplier, are deceptive
       acts:

           (1) That such subject of a consumer transaction has sponsorship, approval,
           performance, characteristics, accessories, uses, or benefits it does not have
           which the supplier knows or should reasonably know it does not have.

           (2) That such subject of a consumer transaction is of a particular standard,
           quality, grade, style, or model, if it is not and if the supplier knows or
           should reasonably know that it is not.

Ind. Code Ann. § 24-5-0.5-3(b)(1)-(2).

       243.   Defendants violated Indiana Code section 24-5-0.5-3(a) and (b)(1) by making

representations, including the Animal Welfare Promises discussed herein and branding of the

Products as “fairlife,” that the Products had characteristics and/or benefits they did not have.

Defendants knew or should have reasonably known these representations, including the Animal

Welfare Promises and name “fairlife,” were false and misleading.

       244.   Defendants violated Indiana Code section 24-5-0.5-3(a) and (b)(2) by making

representations, including the Animal Welfare Promises and name “fairlife” discussed herein,

that the Products were of a particular standard, quality, grade, style, or model, even though the

representations were false and misleading and Defendants knew or should reasonably have

known they were false and misleading.

       245.   Specifically to the McCloskey Defendants, they made representations on the

Products’ labels, themselves, and—as alleged herein—those representations bore the signature of

Mike McCloskey and Sue McCloskey.



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       246.    Defendants’ conduct was willful or in reckless disregard of the rights of Plaintiffs

and the Class members under the Indiana Deceptive Consumer Sales Act.

       247.    Defendants’ conduct proximately caused injuries to Plaintiffs and the members.

       248.    Plaintiffs and the Class members reasonably relied on upon Defendants’

misrepresentations, including the false and misleading Animal Welfare Promises and name

“fairlife” discussed herein.

       249.    Defendants’ deceptive acts were done as part of a scheme, artifice, or device with

intent to defraud or mislead and constitute incurable deceptive acts under the Indiana Deceptive

Consumer Sales Act.

       250.    On account of Defendants’ violations of the Indiana Deceptive Consumer Sales

Act, Plaintiffs and the Class members seek statutory damages, reasonable attorney’s fees, costs

of suit, treble damages, an order enjoining Defendants’ unlawful practices, and such further relief

as the Court deems just and proper.

       251.    On account of the McCloskey Defendants’ violations as described herein,

Plaintiffs and the Class members seek damages on a nationwide basis for those actions and

activities of the McCloskey Defendants that emanated from the State of Indiana.

       252.    Therefore, Plaintiffs pray for relief as set forth below.

            CLAIMS BROUGHT ON BEHALF OF THE STATE SUBCLASSES

                               EIGHTH CLAIM FOR RELIEF
                  Violation of California’s Consumers Legal Remedies Act,
                                 Cal. Civ. Code § 1750, et seq.
        By Plaintiff Cantwell on Behalf of the California Subclass Against All Defendants

       253.    Plaintiff Carol Cantwell reasserts the allegations set forth in paragraphs 1 through

143 and incorporates such allegations by reference herein.

       254.    Plaintiff Cantwell brings this claim on behalf of the California Subclass against



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the Defendants for violation of California’s Consumers Legal Remedies Act, Cal. Civ. Code §

1750, et seq. (the “CLRA”).

       255.    The Products are “goods” within the meaning of California Civil Code section

1761(a), and the purchases of such Products by Plaintiff Cantwell and the California Subclass

members constitute “transactions” within the meaning of California Civil Code section 1761(e).

       256.    California Civil Code section 1770(a)(2) prohibits “misrepresenting the source,

sponsorship, approval, or certification of goods or services.” By marketing the Products with the

Animal Welfare Promises and name “fairlife,” Defendants have represented and continue to

represent that the Products are derived from humanely raised cows when they are not. Therefore,

Defendants have violated section 1770(a)(2) of the CLRA.

       257.    California Civil Code section 1770(a)(5) prohibits “[r]epresenting that goods or

services have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities

which they do not have.” By marketing the Products with the Animal Welfare Promises and

name “fairlife,” Defendants have represented and continue to represent that the Products have

characteristics (are derived from humanely raised cows) that they do not have. Therefore,

Defendants have violated section 1770(a)(5) of the CLRA.

       258.    California Civil Code section 1770(a)(7) prohibits “[r]espresenting that goods or

services are of a particular standard, quality, or grade, or that goods are of a particular style or

model, if they are of another.” By marketing the Products with the Animal Welfare Promises

and name “fairlife,” Defendants have represented and continue to represent that the Products are

of a particular standard or quality (from humanely raised cows) when they are of another.

Therefore, Defendants have violated section 1770(a)(7) of the CLRA.

       259.    California Civil Code section 1770(a)(9) prohibits “[a]dvertising goods or




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services with intent not to sell them as advertised.” By marketing the Products with the Animal

Welfare Promises and name “fairlife,” and then not ensuring the truthfulness of the

representations, Defendants have violated section 1770(a)(9) of the CLRA.

       260.    Defendants have also violated the CLRA by intentionally failing to disclose

material information about the Products, such as the fact that Defendants’ promises regarding the

humane treatment of dairy cows and other Animal Welfare Promises, including the name

“fairlife.” are empty, not enforced, and that Products have been derived from cows that are or

have previously been systematically abused and mistreated.

       261.    At all relevant times, Defendants have known or reasonably should have known

that their Animal Welfare Promises and branding of the Products as “fairlife,” were inaccurate;

consumers purchased the Products based upon guarantees that Defendants’ dairy cows were

treated in accordance with Animal Welfare Promises and lived a “fair” life.            Consumers

justifiably relied upon Defendants’ promises based upon the packaging on the Products,

themselves, and Defendants made those promises because they would drive sales of the

Products.

       262.    Accordingly, the promises and representations are material, because reasonable

consumers would rely upon them when making purchases of the Products. Because of the

materiality of the representations, reliance may be inferred on behalf of the class members.

       263.    Plaintiff Cantwell and the California Subclass members have suffered and

continue to suffer injuries caused by Defendants because they would not have purchased the

Products or would have paid significantly less for the Products had they known that Defendants’

conduct was misleading and fraudulent.

       264.    Plaintiff Cantwell seeks monetary damages pursuant to California Civil Code




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section 1782. On or about April 29, 2020 and May 21, 2020, Plaintiff Cantwell sent Defendants

a Notice and Demand Letter, notifying Defendants of their violations of the CLRA. Defendants

did not correct the misrepresentations or misconduct identified in the demand letter.

       265.    Under California Civil Code section 1780(a), Plaintiff Cantwell and the California

Subclass members also seek injunctive relief pursuant to the CLRA, preventing the Defendants

from further wrongful acts and unfair and unlawful business practices.

       266.    Therefore, Plaintiff Cantwell prays for relief as set forth below.

                                NINTH CLAIM FOR RELIF
                      Violation of California’s False Advertising Law,
                           Cal. Bus. & Prof. Code § 17500, et seq.
       By Plaintiff Cantwell on Behalf of the California Subclass Against All Defendants

       267.    Plaintiff Carol Cantwell reasserts the allegations set forth in paragraphs 1 through

143 and incorporate such allegations by reference herein.

       268.    Plaintiff Cantwell brings this claim on behalf of the California Subclass against

Defendants for violation of California’s False Advertising Law, Cal. Bus. & Prof. Code § 17500,

et seq. (“FAL”).

       269.    California’s FAL makes it “unlawful for any person to make or disseminate or

cause to be made or disseminated before the public. . . in any advertising device. . . or in any

other manner or means whatever, including over the Internet, any statement, concerning . . .

personal property or services professional or otherwise, or performance or disposition thereof,

which is untrue or misleading and which is known, or which by the exercise of reasonable care

should be known, to be untrue or misleading.” Cal. Bus. & Prof. Code § 17500.

       270.    Defendants have represented and continue to represent to the public, including

Plaintiff Cantwell and the California Subclass members, through Defendants’ deceptive

packaging and marketing, that the Products are made with milk from humanely raised cows.



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Defendants’ representations are false and misleading because the Products do not contain milk

from humanely raised cows. Because Defendants have disseminated false and misleading

information regarding the Products, and Defendants know, knew, or should have known through

the exercise of reasonable care that the representations are and continue to be false and

misleading, Defendants have violated the FAL.

       271.    Defendants’ conduct is also misleading because they fail to disclose material

information about the Products, such as the fact that, in spite of explicit representations and

marketing, the Products have been created using dairy cows that have been abused and

mistreated.

       272.    Defendants’ advertising and Product labels give consumers the false impression

that Defendants’ oversight would ensure that their Products are not nor have they been created

using dairy cows that were mistreated.

       273.    As a result of Defendants’ false advertising, Defendants have fraudulently

obtained and continue to fraudulently obtain money from Plaintiff Cantwell and the California

Subclass members.

       274.    Plaintiff Cantwell requests that this Court cause Defendants to restore this

fraudulently obtained money to Plaintiff Cantwell and the members of the California Subclass, to

disgorge the profits the Defendants made on these transactions, and to enjoin Defendants from

violating the FAL or violating it in the same fashion in the future as discussed herein. Plaintiff

Cantwell and the California Subclass members may be irreparably harmed and/or denied an

effective and complete remedy if the Court does not grant such an order.

       275.    Therefore, Plaintiff Cantwell prays for relief as set forth below.




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                                  TENTH CLAIM FOR RELIEF
                        Violation of California’s Unfair Competition Law,
                              Cal. Bus. & Prof. Code § 17200, et seq.
                            Unlawful, Unfair, and Fraudulent Prongs
          By Plaintiff Cantwell on Behalf of the California Subclass Against All Defendants

          276.   Plaintiff Carol Cantwell reassert the allegations set forth in paragraphs 1 through

143 and incorporate such allegations by reference herein.

          277.   Plaintiff Cantwell bring this claim on behalf of the California Subclass against

Defendants for violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code §

17200, et seq. (“UCL”).

          278.   The UCL provides, in pertinent part, that “unfair competition shall mean and

include unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or

misleading advertising.” Cal. Bus. & Prof. Code § 17200.

          279.   Under the UCL, a business act or practice is “unlawful” if it violates any

established state or federal law.

          280.   Defendants’ misleading advertising of the Products was and continues to be

“unlawful” because it violates the CLRA, the FAL, and other applicable laws as described

herein.

          281.   As a result of Defendants’ unlawful business acts and practices, Defendants have

unlawfully obtained money from Plaintiff Cantwell and the California Subclass members.

          282.   Under the UCL, a business act or practice is “unfair” if the defendants’ conduct is

substantially injurious to consumers, offends public policy, and is immoral, unethical,

oppressive, and unscrupulous, as the benefits for committing such acts or practices are

outweighed by the gravity of the harm to the alleged victims.

          283.   Defendants’ conduct was and continues to be of no benefit to purchasers of the




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Products, as it is misleading, unfair, unlawful, and is injurious to consumers who rely on the

Products’ packaging and marketing. Creating consumer confusion as to the welfare of the

animals used to derive the Products is of no benefit to consumers. Therefore, Defendants’

conduct was and continues to be “unfair.”

       284.    As a result of Defendants’ unfair business acts and practices, Defendants have

unfairly obtained and continue to unfairly obtain money from Plaintiff Cantwell and the

California Subclass members.

       285.    Under the UCL, a business act or practice is “fraudulent” if it actually deceives or

is likely to deceive members of the consuming public.

       286.    Defendants’ conduct here was and continues to be fraudulent because it has the

effect of deceiving consumers into believing that Defendants have methods to ensure the ethical

and humane treatment of the animals from which they sources dairy for the Products. In reality,

if Defendants were able to ensure that its Animal Welfare Promises and branding of the

Products as “fairlife” were truthful and accurate, four undercover investigations would not have

revealed systematic abuse at its facilities. Defendants’ conduct is also fraudulent because

Defendants fail to disclose material information about the Products, such as the fact that the milk

has been derived from cows that were systematically abused and mistreated.

       287.    Because Defendants misled Plaintiff Cantwell and the California Subclass

members, Defendants’ conduct was “fraudulent.”

       288.    As a result of Defendants’ fraudulent business acts and practices, Defendants have

fraudulently obtained and continue to fraudulently obtain money from Plaintiff Cantwell and the

California Subclass members.

       289.    Plaintiff Cantwell requests that this Court cause Defendants to restore this




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unlawfully, unfairly, and fraudulently obtained money to Plaintiff Cantwell and the California

Subclass members, to disgorge the profits Defendants made on these transactions, and to enjoin

Defendants from violating the UCL or violating it in the same fashion in the future as discussed

herein. Plaintiff Cantwell and the California Subclass members may be irreparably harmed

and/or denied an effective and complete remedy if the Court does not grant such an order.

       290.    Therefore Plaintiff Cantwell pray for relief as set forth below.


                             ELEVENTH CLAIM FOR RELIEF
                     Violation of Connecticut Unfair Trade Practice Act
                                  C.G.S.A. § 42-110, et seq.
      By Plaintiff Hamilton on Behalf of the Connecticut Subclass Against All Defendants

       291.    Plaintiff Karai Hamilton reasserts the allegations set forth in paragraphs 1 through

143 and incorporate such allegations by reference herein.

       292.    Plaintiff Hamilton asserts this claim individually and on behalf of the Connecticut

Subclass.

       293.    Defendants are “persons” as defined by C.G.S.A. § 42-110a(3).

       294.    Defendants are engaged in “trade” or “commerce” as those terms are defined

by C.G.S.A. § 42-110a(4).

       295.    At the time of filing this Complaint, Plaintiff Hamilton sent notice to the Attorney

General and Commissioner of Consumer Protection pursuant to C.G.S.A. § 42-110g(c). Plaintiff

Hamilton will provide a file-stamped copy of the Amended Complaint to the Attorney General

and Commissioner of Consumer Protection.

       296.    Defendants advertised, offered, or sold goods or services in Connecticut, and

engaged in trade or commerce directly or indirectly affecting the people of Connecticut.

       297.    Defendants engaged in deceptive acts and practices and unfair acts and practices




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in the conduct of trade or commerce, in violation of the C.G.S.A. § 42-110b, including: (i)

Representing that goods or services have sponsorship, approval, characteristics, ingredients, uses,

benefits, or qualities that they do not have; (ii) Representing that goods or services are of a

particular standard, quality, or grade, or that goods are of a particular style or model, if they are of

another; and (iii) Engaging in any other unconscionable, false, misleading, or deceptive act or

practice in the conduct of trade or commerce.

       298.    Defendants’ representations and omissions were material because they were likely

to deceive reasonable consumers.

       299.    Defendants intended to mislead Plaintiff Hamilton and the Connecticut Subclass

members and induce them to rely on their misrepresentations and omissions.

       300.    Had Defendants disclosed to Plaintiff Hamilton and Connecticut Subclass

members that their uniform Animal Welfare Promises and branding of the Products as “fairlife”

were false, Defendants would have been unable to continue in business and would have been

forced to disclose that they are unable to guarantee that they kept their promises. Instead,

Defendants made empty promises. Plaintiff Hamilton and the Connecticut Subclass members

acted reasonably in relying on Defendants’ misrepresentations and omissions, the truth of which

they could not have discovered.

       301.    Defendants acted intentionally, knowingly, and maliciously to violate the

Connecticut Unfair Trade Practices Act, and recklessly disregarded Plaintiff Hamilton’s and

Connecticut Subclass members’ rights. Defendants knew that they were unable to guarantee that

they could not keep the Animal Welfare Promises they made without adequate oversight,

auditing, and control.

       302.    As a direct and proximate result of Defendants’ deceptive acts and practices,




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Plaintiff Hamilton and Connecticut Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including from not receiving the benefit of their bargain in purchasing the Products.

       303.    Defendants’ deceptive acts and practices caused substantial, ascertainable injury to

Plaintiff Hamilton and Connecticut Subclass members, which they could not reasonably avoid,

and which outweighed any benefits to consumers or to competition.

       304.    Defendants’ violations of Connecticut law were done with reckless indifference to

the rights of Plaintiff Hamilton and the Connecticut Subclass or was with an intentional or

wanton violation of those rights.

       305.    Plaintiff Hamilton and the Connecticut Subclass request damages in the amount to

be determined at trial, including statutory and common law damages, attorneys’ fees, and

punitive damages, under Rules 23(b)(2), (b)(3), and (c)(4) of the Federal Rules of Civil

Procedure.

       306.    Therefore, Plaintiff Hamilton prays for relief as set forth below.


                             TWELFTH CLAIM FOR RELIEF
            Violation of the Florida Deceptive and Unfair Trade Practices Act,
                               Fla. Stat. Ann. § 501.201, et seq.
      By Plaintiff Jenny Rossano on Behalf of the Florida Subclass Against All Defendants

       307.    Plaintiff Jenny Rossano reassert the allegations set forth in paragraphs 1 through

143 and incorporates such allegations by reference herein.

       308.    Plaintiff Rossano brings this claim on behalf of the Florida Subclass against

Defendants for violation of the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann.

§ 501.201 et seq. (“FDUTPA”).

       309.    FDUTPA provides that “[u]nfair methods of competition, unconscionable acts or




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practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce are

hereby declared unlawful.” Fla. Stat. Ann. § 501.204.

       310.    By the conduct described in detail above and incorporated herein, Defendants

engaged in unfair or deceptive acts in violation of FDUTPA.

       311.    Defendants’ misrepresentations and omissions regarding the Animal Welfare

Promises and name “fairlife” are material facts that a reasonable person would have considered

in deciding whether to purchase (or to pay the same price for) the Products.

       312.    Defendants intended that Plaintiff and the Florida Subclass members would rely

upon their deceptive conduct, including the Animal Welfare Promises and name “fairlife,” and

that conduct has deceived Plaintiffs and has deceived or is likely to deceive members of the

consuming public and the Florida Subclass members.

       313.    In addition to being deceptive, the business practices of Defendants were unfair,

because the injuries to Plaintiffs and the Florida Subclass members are substantial and greatly

outweigh any alleged countervailing benefit to Plaintiff and the Florida Subclass members or to

competition under all of the circumstances. Moreover, the injury is not one Plaintiffs and the

Florida Subclass members could have reasonably avoided.

       314.    Plaintiff and the Florida Subclass members justifiably acted or relied to their

detriment upon Defendants’ misrepresentations (and related omissions of fact), as evidenced by

Plaintiff and the Florida Subclass members’ purchases of the Products.

       315.    If not for Defendants’ deceptive and unfair acts, including Defendants’ false and

misleading Animal Welfare Promises and branding of the Products as “fairlife” as alleged herein,

Plaintiffs and the Florida Subclass members would not have purchased the Products or would

have paid significantly less for them.




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       316.       As a direct and proximate result of these unfair and deceptive commercial

practices, Plaintiff and the Florida Subclass members have been damaged and seek actual

damages, attorneys’ fees and costs, and all other relief allowed under FDUTPA.

       317.       Therefore, Plaintiff Rossano prays for relief as set forth below.

                            THIRTEENTH CLAIM FOR RELIEF
                     Violation of Maryland’s Consumer Protection Act,
                          Md. Code Ann., Com. Law § 13-101, et seq.
    By Plaintiff Michelle Ingrodi on Behalf of the Maryland Subclass Against All Defendants

       318.       Plaintiff Michelle Ingrodi reasserts the allegations set forth in paragraphs 1

through 143 and incorporates such allegations by reference herein.

       319.       Plaintiff Ingrodi brings this claim on behalf of the Maryland Subclass against

Defendants for violation of Maryland’s Consumer Protection Act, Md. Code Ann., Com. Law §

13-101, et seq.

       320.       Under Maryland’s Consumer Protection Act, “[a] person may not engage in any

unfair, abusive, or deceptive trade practice, as defined in this subtitle or as further defined by the

Division, in: (1) [t]he sale, lease, rental, loan, or bailment of any consumer goods, consumer

realty, or consumer services; (2) [t]he offer for sale, lease, rental, loan, or bailment of consumer

goods, consumer realty, or consumer services . . . .” Md. Code Ann., Com. Law § 13-303(1)-(2).

       321.       Under Maryland’s Consumer Protection Act, “consumer goods” means,

respectively, “goods . . . which are primarily for personal, household, family, or agricultural

purposes.” Id. § 13-101(d)(1).

       322.       Under Maryland’s Consumer Protection Act, “consumer” means “an actual or

prospective purchaser, lessee, or recipient of consumer goods, consumer services, consumer

realty, or consumer credit.” Id. § 13-101(c)(1).

       323.       Plaintiff Ingrodi and the Maryland Subclass members are “consumers” under



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Maryland’s Consumer Protection Act because they purchased the Products primarily for

personal, household, or family purposes.

       324.       To bring an action under the Maryland Consumer Protection Act, a plaintiff must

allege (1) an unfair or deceptive trade practice that (2) is relied upon, and (3) causes the plaintiff

actual injury.

       325.       Under Maryland’s Consumer Protection Act, unfair, abusive, or deceptive trade

practices include any:

       (1) False, falsely disparaging, or misleading oral or written statement, visual
       description, or other representation of any kind which has the capacity, tendency,
       or effect of deceiving or misleading consumers;

       (2) Representation that:

             (i) Consumer goods, consumer realty, or consumer services have a
             sponsorship, approval, accessory, characteristic, ingredient, use, benefit, or
             quantity which they do not have;

             . . . or

             (iv) Consumer goods, consumer realty, or consumer services are of a
             particular standard, quality, grade, style, or model which they are not;

       (3) Failure to state a material fact if the failure deceives or tends to deceive;

       ...

       (5) Advertisement or offer of consumer goods, consumer realty, or consumer
       services: (i) Without intent to sell, lease, or rent them as advertised or offered . . .
       [or]

       (9) Deception, fraud, false pretense, false premise, misrepresentation, or knowing
       concealment, suppression, or omission of any material fact with the intent that a
       consumer rely on the same in connection with: (i) The promotion or sale of any
       consumer goods, consumer realty, or consumer service . . . .

Md. Code Ann., Com. Law § 13-301(1), (2)(i), (2)(iv), (3), (5)(i), (9)(i).

       326.       In violation of Maryland’s Consumer Protection Act, Defendants engaged in




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unfair,    abusive,     or     deceptive   trade   practices   because   Defendants   made    material

misrepresentations and omissions upon which Plaintiff Ingrodi and the Maryland Subclass

members relied, causing them financial injury.

          327.   Defendants engaged in unfair, abusive, or deceptive trade practices including but

not limited to the following:

                 i.          making false and misleading representations regarding the Products that
                             have the capacity, tendency, or effect of deceiving or misleading
                             consumers, as discussed herein, including the Animal Welfare Promises;

                 ii.         representing that goods have characteristics and/or benefits that they do
                             not have (e.g., that the animals which are used to create the Products are
                             treated humanely);

                 iii.        representing that goods are of a particular standard, quality, or grade if
                             they are of another (e.g., that the Products were produced from humanely-
                             treated animals);

                 iv.         advertising goods with intent not to sell them as advertised (e.g.,
                             advertising that the Products would be derived from humanely-treated
                             animals when Defendants could not ensure that they were, and where
                             concrete examples exist showing that they were not); and

                 v.          making deceptive representations regarding the Products as discussed
                             herein, including the Animal Welfare Promises, with the intent that
                             consumers rely on the same in connection with the promotion or sale of
                             the Products.

          328.   The misrepresentations and material omissions described in the preceding

paragraph were material and made intentionally and knowingly with the intent that Plaintiff

Ingrodi and the Maryland Subclass members rely upon them in connection with purchasing the

Products.

          329.   Defendants made these misrepresentations and material omissions directly with

respect to Plaintiff Ingrodi and the Maryland Subclass members and by way of transactions

involving the Products.




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       330.    Defendants knew or were reckless in not knowing about their misrepresentations

and material omissions regarding the treatment of animals associated with the Products.

       331.    Defendants’ deceptive and unfair acts and practices were likely to and did in fact

deceive the public at large as well as their customers—who are Maryland Subclass members—

who paid materially more for the Products because of Defendants’ misrepresentations and

material omissions regarding the treatment of animals associated with the Products.

       332.    Defendants’ misrepresentations and omissions were material because consumers

were willing to and in fact did pay more for the Products based upon Defendants’

misrepresentations and omissions regarding the treatment of animals associated with the

Products.

       333.    Plaintiff Ingrodi and the Maryland Subclass members relied and would be

reasonable in relying upon Defendants’ misrepresentations and omissions to their detriment, and

they did not receive the benefit of their bargains in purchasing Products.

       334.    Had Plaintiff Ingrodi and the Maryland Subclass members known of Defendants’

misrepresentations and omissions, they either would not have purchased the Products or would

have paid significantly less for them.

       335.    Defendants acted intentionally, knowingly, and maliciously to violate the

Maryland Consumer Protection Act and recklessly disregarded the Animal Welfare Promises and

branding of the Products as “fairlife” that they made to Plaintiff Ingrodi and the Maryland

Subclass members. Defendants’ acts and practices affect the consumer marketplace and public

interest, because they had a direct impact upon pricing of the Products at issue, competitors’

products, and consumers’ purchasing decisions.

       336.    Plaintiff Ingrodi and the Maryland Subclass members seek an Order declaring that




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Defendants’ conduct described above violated Maryland’s Consumer Protection Act and an

award of damages pursuant to the Consumer Protection Act compensating them for the purchase

price, or alternatively the price premium, they paid in reliance on Defendants’ material

misrepresentations and omissions when they purchased the Products. Md. Code Ann., Com. Law

§ 13-408(b).

       337.      Pursuant to Maryland’s Consumer Protection Act, Plaintiff Ingrodi seeks

reasonable attorney’s fees and costs. Md. Code Ann., Com. Law § 13-408(b).

       338.      On behalf of herself and the members of the Maryland Subclass, Plaintiff Ingrodi

also seeks such further relief as this Court may deem just and proper.

       339.      Therefore, Plaintiff Ingrodi prays for relief as set forth below.

                           FOURTEENTH CLAIM FOR RELIEF
                     Violation of the Michigan Consumer Protection Act,
                          Mich. Comp. Laws Ann. § 445.901, et seq.
         By Plaintiff Peters on Behalf of the Michigan Subclass Against All Defendants

       340.      Plaintiff Cindy Peters reasserts the allegations set forth in paragraphs 1 through

143 and incorporates such allegations by reference herein.

       341.      Plaintiff Peters brings this claim on behalf of the Michigan Subclass against

Defendants for violation of the Michigan Consumer Protection Act, Mich. Comp. Laws Ann. §

445.901, et seq.

       342.      Defendants offered and sold goods in Michigan and engaged in “trade or

commerce” directly or indirectly affecting the people of Michigan, as defined by Michigan

Compiled Laws section 445.902(g).

       343.      As detailed herein, Defendants engaged in unfair, unconscionable, and deceptive

practices in the conduct of trade and commerce, in violation of Michigan Compiled Laws section

445.903(1) by:



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                i.        representing that their goods have characteristics, uses, and
                          benefits that they do not have, Mich. Comp. Laws Ann. §
                          445.903(1)(c);

               ii.        representing that their goods are of a particular standard or quality
                          if they are of another, Mich. Comp. Laws Ann. § 445.903(1)(e);

              iii.        advertising or representing goods with intent not to dispose of
                          those goods as advertised or represented, Mich. Comp. Laws Ann.
                          § 445.903(1)(g);

              iv.         making a representation or statement of fact material to the
                          transaction such that a person reasonably believes the represented
                          or suggested state of affairs to be other than it actually is, Mich.
                          Comp. Laws Ann. § 445.903(1)(bb); and

               v.         failing to reveal facts that are material to the transaction in light of
                          representations of fact made in a positive matter, Mich. Comp.
                          Laws Ann. § 445.903(1)(cc).

       344.         Defendants’ representations and omissions in Defendants’ Animal Welfare

Promises, in the name “fairlife,” and elsewhere were material because they were likely to

deceive reasonable consumers.

       345.      Defendants’ Animal Welfare Promises and branding of the Products as “fairlife”

were deceptive and misleading because—despite making promises regarding the ethical

treatment of dairy cows used to make fairlife Products—Defendants could not keep those

promises based upon examples from the ARM investigations discussed above.

       346.      As a direct and proximate result of Defendants’ deceptive acts and practices,

Plaintiff Peters and the Michigan Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including from not receiving the benefit of their bargain in purchasing the Products.

       347.      Plaintiff Peters and the Michigan Subclass members seek all monetary and non-

monetary relief allowed by law, including actual damages, injunctive relief, and any other relief




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that the Court deems just and proper.

       348.    Therefore, Plaintiff Peters prays for relief as set forth below.

                            FIFTEENTH CLAIM FOR RELIEF
                   Violation of the Missouri Merchandising Practices Act,
                               Mo. Ann. Stat. § 407.010, et seq.
  By Plaintiffs French and Mallory on Behalf of the Missouri Subclass Against All Defendants

       349.    Plaintiffs Debra French and Kaye Mallory reassert the allegations set forth in

paragraphs 1 through 143 and incorporate such allegations by reference herein.

       350.    Plaintiffs French and Mallory bring this claim on behalf of the Missouri Subclass

against Defendants for violation of the Missouri Merchandising Practices Act, Mo. Ann. Stat. §

407.010, et seq. (“MMPA”).

       351.    Under the MMPA, the term “merchandise” means “any objects, wares, goods,

commodities, intangibles, real estate or services.” Mo. Ann. Stat. § 407.010(4).

       352.    The Products are goods and, consequently, are “merchandise” as the MMPA

defines that term.

       353.    Under the MMPA:

       The act, use or employment by any person of any deception, fraud, false pretense,
       false promise, misrepresentation, unfair practice or the concealment, suppression,
       or omission of any material fact in connection with the sale or advertisement of
       any merchandise in trade or commerce . . . in or from the state of Missouri, is
       declared to be an unlawful practice.

Mo. Ann. Stat. § 407.020(1).

       354.    As set forth herein, Defendants’ conduct in connection with the advertising,

marketing, sale, distribution, and offering of the Products violates section 407.020(1) in that,

among other things, Defendants have used and continue to use deception, fraud, false pretense,

false promise, misrepresentation, unfair practice or the concealment, suppression, or omission of

any material fact.



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       355.    As    set   forth   herein,   Defendants’    deceptive    acts,   unfair   practices,

misrepresentations, and concealment of material facts include, among other things,

misrepresenting the Products as being derived from cows that were treated humanely, when, in

fact, Defendants could not guarantee that they are not, contrary to Defendants’ Animal Welfare

Promises and branding of the Products as “fairlife.”

       356.    Defendants’ conduct further violates the MMPA pursuant to state regulation 15

C.S.R. § 60-8.010, et seq. because the conduct: (1) offends public policy; (2) is unethical,

oppressive, and unscrupulous; (3) causes substantial injury to consumers; (4) was not in good

faith; (5) was unfair; and (6) is unconscionable.

       357.    Because Defendants used deception, fraud, false pretense, false promise,

misrepresentation, unfair practice, and the concealment, suppression, or omission of material

facts in connection with the advertising, marketing, sale, distribution, and offering of the

Products, Plaintiffs French and Mallory and the Missouri Subclass members suffered economic

damages.

       358.    Plaintiffs French and Mallory and the Missouri Subclass members seek actual

damages; a declaration that Defendants’ acts, use, or employment of deceptions, frauds, false

pretenses, false promises, misrepresentations, unfair practices, or concealments, suppressions, or

omissions of material facts violate the MMPA; an injunction prohibiting Defendants from

continuing to engage in such unlawful acts, use, or employment; restitution; rescission; pre-

judgment interest; punitive damages; attorneys’ fees and costs; and any other relief that the Court

deems necessary and proper.

       359.    Therefore, Plaintiffs French and Mallory pray for relief as set forth below.




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                            SIXTEENTH CLAIM FOR RELIEF
                Violation of Minnesota’s Prevention of Consumer Fraud Act,
                              Minn. Stat. Ann. § 325F.68, et seq.
    By Plaintiff Connie Sandler on Behalf of the Minnesota Subclass Against All Defendants

       360.    Plaintiff Connie Sandler reasserts the allegations set forth in paragraphs 1 through

143 and incorporates such allegations by reference herein.

       361.    Plaintiff Sandler brings this claim on behalf of the Minnesota Subclass against

Defendants for violation of Minnesota’s Prevention of Consumer Fraud Act, Minn. Stat. Ann. §

325F.68, et seq.

       362.    Minnesota Statutes section 325F.69, subdivision 1, makes it unlawful for any

person to use “any fraud, false pretense, false promise, misrepresentation, misleading statement

or deceptive practice, with the intent that others rely thereon in connection with the sale of any

merchandise, whether or not any person has in fact been misled, deceived, or damaged thereby.”

       363.    Defendants’ business practices, in advertising, marketing, and selling the Products

as described herein constitute the use of fraud, false pretense, false promises, misrepresentations,

misleading statements, and deceptive practices and, thus, constitute multiple, separate violations

of Minnesota Statutes section 325F.69.

       364.    By engaging in the conduct described herein, Defendants violated and continue to

violate Minnesota Statutes section 325F.69, subdivision 1.

       365.    Defendants’ wrongful conduct and use of false pretenses, false promises,

misrepresentations, and misleading statements, all with the intent that others relied on those

statements, includes, by way of example and not by limitation:

               a.      Defendants’ fraudulent, misleading, and deceptive statements and
                       practices relating to the Products;

               b.      Defendants’ warranty-related misconduct, including their
                       fraudulent, deceptive, and unfair practice of misrepresenting the



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                      Products’ characteristics;

              c.      Defendants’ concealment of the true characteristics of the
                      Products; and

              d.      Defendants’ continued sale of the Products after they knew about
                      the misleading representations.

       366.   Defendants’ omissions and misrepresentations set forth herein are material in that

they relate to information that would naturally affect the purchasing decision or conduct of

purchasers, including Plaintiff Sandler and the Minnesota Subclass members, regarding whether

to purchase the Products.

       367.   Had Plaintiff Sandler and the Minnesota Subclass members known that

Defendants’ Products were not derived from cows that were guaranteed to be treated humanely,

as Defendants had promised, or that Defendants did not have adequate oversight to ensure that

their representations were accurate or followed, they would not have purchased the Products at a

premium price.

       368.   Defendants fraudulently, negligently, recklessly, and/or intentionally concealed

and/or failed to disclose the true characteristics of the Products for the purpose of inducing

Plaintiff Sandler and the Minnesota Subclass members to rely thereon, and Plaintiff Sandler and

the Minnesota Subclass members justifiably relied, to their detriment, upon the truth and

completeness of Defendants’ Animal Welfare Promises, branding of the Products as “fairlife,”

and other representations about the Products. Plaintiff Sandler and the Minnesota Subclass

members relied on Defendants to disclose all material facts and not omit any material

information regarding the Products. That Plaintiff Sandler and the Minnesota Subclass members

were deceived is evidenced by the fact that Plaintiff Sandler and the Minnesota Subclass

members purchased the Products. Had they known the truth, Plaintiff Sandler and the Minnesota




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Subclass members would not have bought the Products. Defendants’ fraudulent and deceptive

practice of advertising, marketing, and selling the Products repeatedly occurred in Defendants’

trade or business and was capable of deceiving a substantial portion of the purchasing public.

       369.    Where, as here, Plaintiff Sandler’s claims inure to the public benefit as

Defendants have misrepresented the qualities and characteristics of the Products to the public at

large, Minnesota’s private-attorney general statute, Minnesota Statutes section 8.31, subdivision

3a, allows individuals who have been injured through a violation of these consumer-protection

statutes to bring a civil action and recover damages, together with costs and disbursements,

including reasonable attorneys’ fees.

       370.    As   a   result   of     Defendants’   fraud,   false   pretense,   false   promises,

misrepresentations, misleading statements, and deceptive practices relating to the sale of the

Products, Plaintiff Sandler and the Minnesota Subclass members have suffered actual damages in

that they would not have purchased the Products at a premium price if they had known that the

representations at issue regarding the Products, including the Animal Welfare Promises, are false

and misleading.

       371.    Plaintiff Sandler and the Minnesota Subclass members will continue to suffer

injury if Defendants’ deceptive conduct is not enjoined, including but not limited to the purchase

price of the Products and/or the premium paid for the Products.

       372.    As a direct, proximate, and foreseeable result of Defendants’ violation of the

statute, Plaintiff Sandler and the Minnesota Subclass members sustained damages.

       373.    Therefore, Plaintiff Sandler prays for relief as set forth below.




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                           SEVENTEENTH CLAIM FOR RELIEF
                   Violation of Minnesota’s Unlawful Trade Practices Act,
                              Minn. Stat. Ann. § 325D.09, et seq.
        By Plaintiff Sandler on Behalf of the Minnesota Subclass Against All Defendants

       374.    Plaintiff Connie Sandler reassert the allegations set forth in paragraphs 1 through

143 and incorporates such allegations by reference herein.

       375.    Plaintiff Sandler brings this claim on behalf of the Minnesota Subclass against

Defendants for violation of Minnesota’s Unlawful Trade Practices Act, Minn. Stat. Ann. §

325D.09 et seq.

       376.    Minnesota Statutes section 325D.13 provides that “[n]o person shall, in

connection with the sale of merchandise, knowingly misrepresent, directly or indirectly, the true

quality, ingredients or origin of such merchandise.”

       377.    By engaging in the conduct described herein, Defendants violated and continue to

violate Minnesota Statutes section 325D.13.

       378.    Where, as here, Plaintiff Sandler’s claims inure to the public benefit as

Defendants have misrepresented the qualities and characteristics of the Products to the public at

large, Minnesota’s private-attorney general statute, Minnesota Statutes section 8.31, subdivision

3a, allows individuals who have been injured through a violation of these consumer-protection

statutes to bring a civil action and recover damages, together with costs and disbursements,

including reasonable attorneys’ fees.

       379.    Defendants’ wrongful conduct and misrepresentation of the true qualities of the

Products includes, by way of example and not by limitation:

               a.     Defendants’ fraudulent, misleading, and deceptive statements and
                      practices relating to the Products;

               b.     Defendants’ warranty-related misconduct, including their
                      fraudulent, deceptive, and unfair practice of misrepresenting the



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                       Products’ characteristics;

               c.      Defendants’ concealment of the true characteristics of the
                       Products; and

               d.      Defendants’ continued sale of the Products after they knew about
                       the misleading representations.

       380.    Defendants and their agents and distributors also misrepresented the true

characteristics of the Products by making the various statements about the alleged qualities and

characteristics of the Products as stated above.

       381.    As a result of Defendants’ practices relating to misrepresentation of the true

characteristics of the Products, Plaintiff Sandler and the Minnesota Subclass members have

suffered actual damages in that they would not have purchased the Products at a premium price if

they had known that the representations at issue regarding the Products, including the Animal

Welfare Promises and branding the Products as “fairlife,” are false and misleading.

       382.    As a direct, proximate, and foreseeable result of Defendants’ violation of the

statute, Plaintiff Sandler and the Minnesota Subclass members sustained damages.

       383.    Therefore, Plaintiff Sandler prays for relief as set forth below.

                           EIGHTEENTH CLAIM FOR RELIEF
             Violation of Minnesota’s Uniform Deceptive Trade Practices Act,
                             Minn. Stat. Ann. § 325D.43, et seq.
    By Plaintiff Connie Sandler on Behalf of the Minnesota Subclass Against All Defendants

       384.    Plaintiff Connie Sandler reassert the allegations set forth in paragraphs 1 through

143 and incorporates such allegations by reference herein.

       385.    Plaintiff Sandler brings this claim on behalf of the Minnesota Subclass against

Defendants for violation of Minnesota’s Uniform Deceptive Trade Practices Act, Minn. Stat.

Ann. § 325D.43 et seq.

       386.    Minnesota Statutes section 325D.44, subdivision 1, provides, in part:



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         A person engages in a deceptive trade practice when, in the course of business,
         vocation, or occupation, the person:

            (5) represents that goods or services have sponsorship, approval,
            characteristics, ingredients, uses, benefits, or quantities that they do not
            have . . . ;

            ...

            (7) represents that goods or services are of a particular standard, quality, or
            grade, or that goods are of a particular style or model, if they are of
            another;

            ...

            (9) advertises goods or services with intent not to sell them as advertised;

            . . . ; or

            (13) engages in any other conduct which similarly creates a likelihood of
            confusion or of misunderstanding.

         387.     By engaging in the conduct described herein, Defendants violated and continue to

violate each of the provisions of Minnesota Statutes section 325D.44, subdivision 1, set forth

above.

         388.     Where, as here, Plaintiff Sandler’s claims inure to the public benefit as

Defendants have misrepresented the qualities and characteristics of the Products to the public at

large, Minnesota’s private-attorney general statute, Minnesota Statutes section 8.31, subdivision

3a, allows individuals who have been injured through a violation of these consumer-protection

statutes to bring a civil action and recover damages, together with costs and disbursements,

including reasonable attorneys’ fees.

         389.     Defendants’ wrongful conduct and misrepresentation of the true characteristics,

standards, quality, and grade of the Products includes, by way of example and not by limitation:

                  a.     Defendants’ fraudulent, misleading, and deceptive statements
                         relating to the true characteristics, standards, quality and grade of



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                      the Products;

               b.     Defendants’ fraud and misrepresentation of information about the
                      characteristics of the Products, and Defendants’ knowledge of
                      those misrepresentations, and

               c.     Defendants’ concealment of the true characteristics of the
                      Products.

       390.    Defendants and their agents and distributors also misrepresented the true

characteristics of the Products by misrepresenting the alleged qualities and characteristics of the

Products as stated above.

       391.    As a result of Defendants’ practices relating to misrepresentation of the true

characteristics of the Products, Plaintiff Sandler and the Minnesota Subclass members have

suffered actual damages in that they would not have purchased the Products at a premium price if

they had known that the representations at issue regarding the Products, including the Animal

Welfare Promises and branding of the Products as “fairlife,” are false and misleading.

       392.    As a direct, proximate, and foreseeable result of Defendants’ violation of the

statute, Plaintiff Sandler and the Minnesota Subclass members sustained damages.

       393.    Therefore, Plaintiff Sandler prays for relief as set forth below.

                           NINETEENTH CLAIM FOR RELIEF
              Violation of Minnesota’s False Statement in Advertisement Act,
                                 Minn. Stat. Ann. § 325F.67
    By Plaintiff Connie Sandler on Behalf of the Minnesota Subclass Against All Defendants

       394.    Plaintiff Connie Sandler reasserts the allegations set forth in paragraphs 1 through

143 and incorporates such allegations by reference herein.

       395.    Plaintiff Sandler brings this claim on behalf of the Minnesota Subclass against

Defendants for violation of Minnesota’s False Statement in Advertisement Act, Minn. Stat. Ann.

§ 325F.67.




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       396.    Minnesota Statutes section 325F.67 provides, in part:

       Any person, firm, corporation, or association who, with intent to sell . . .
       merchandise, . . . to the public, for sale or distribution, or with intent to increase
       the consumption thereof, or to induce the public in any manner to enter into any
       obligation relating thereto, . . . makes, publishes, disseminates, circulates, or
       places before the public, or causes, directly or indirectly, to be made, published,
       disseminated, circulated, or placed before the public, in this state, in a newspaper
       or other publication, or in the form of . . . label, price tag, . . . or in any other way,
       an advertisement of any sort regarding merchandise, . . . or anything so offered to
       the public, for use, consumption, purchase, or sale, which advertisement contains
       any material assertion, representation, or statement of fact which is untrue,
       deceptive, or misleading, shall, whether or not pecuniary or other specific damage
       to any person occurs as a direct result thereof, be guilty of a misdemeanor, and
       any such act is declared to be a public nuisance and may be enjoined as such.

       397.    By engaging in the conduct described herein, Defendants violated and continue to

violate Minnesota Statutes section 325F.67.

       398.    Where, as here, Plaintiff Sandler’s claims inure to the public benefit as

Defendants have misrepresented the qualities and characteristics of the Products to the public at

large, Minnesota’s private-attorney general statute, Minnesota Statutes section 8.31, subdivision

3a, allows individuals who have been injured through a violation of these consumer-protection

statutes to bring a civil action and recover damages, together with costs and disbursements,

including reasonable attorneys’ fees.

       399.    Defendants’ untrue, deceptive, and misleading assertions and representations

about the Products include, by way of example and not by limitation:

               a.      Defendants’ fraudulent, misleading, and deceptive statements
                       relating to the true characteristics, standards, quality, and grade of
                       the Products;

               b.      Defendants’ fraud and misrepresentation of information about the
                       characteristics of the Products and Defendants’ knowledge of those
                       misrepresentations; and

               c.      Defendants’ concealment of the true characteristics of the
                       Products.



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       400.     Defendants and their agents and distributors also made untrue, deceptive, and

misleading assertions and representations about the Products by making the various statements

about the alleged characteristics of the Products referenced herein.

       401.     As a result of Defendants’ untrue, deceptive, and misleading assertions and

representations about the Products, Plaintiff Sandler and the Minnesota Subclass members have

suffered actual damages in that they would not have purchased the Products at a premium price if

they had known that representations at issue regarding the Products, including the Animal

Welfare Promises and branding of the Products as “fairlife,” are false and misleading.

       402.     Plaintiff Sandler and the Minnesota Subclass members seek to enjoin Defendants

from untrue, deceptive, and misleading assertions and representations about the Products.

       403.     Therefore, Plaintiff Sandler prays for relief as set forth below.

                           TWENTIETH CLAIM FOR RELIEF
  Violation of New York’s Consumer Protection from Deceptive Acts and Practices Act,
                                 N.Y. Gen. Bus. Law § 349
       By Plaintiff Rothberg on Behalf of the New York Subclass Against All Defendants

       404.     Plaintiff David Rothberg reasserts the allegations set forth in paragraphs 1

through 143 and incorporates such allegations by reference herein.

       405.     Plaintiff Rothberg brings this claim on behalf of the New York Subclass against

Defendants for violation of New York General Business Law section 349.

       406.     Section 349 prohibits “deceptive acts or practices in the conduct of any business,

trade or commerce or in the furnishing of any service” in the State of New York. N.Y. Gen. Bus.

Law § 349(a).

       407.     Defendants’ labeling and marketing of the Products, as alleged herein, constitute

“deceptive” acts and practices, as such conduct misled Plaintiff Rothberg and the New York




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Subclass members as to whether the cows used to create Defendants’ Products are treated

humanely, in accordance with Defendants’ representations; and, further, whether Defendants

have the oversight in place to ensure that the cows used to create Defendants’ Products are

treated humanely, or whether Defendants’ promises are empty.

       408.   In accordance with subsection (h) of section 349, Plaintiff Rothberg seeks an

order enjoining Defendants from continuing these unlawful deceptive acts and practices. Absent

enjoining these unlawful deceptive acts and practices, Defendants will continue their false and

misleading marketing of the Products and, in doing so, irreparably harm each of the New York

Subclass members.

       409.   As a consequence of Defendants’ deceptive acts and practices, Plaintiff Rothberg

and the New York Subclass members suffered an ascertainable loss of monies. By reason of the

foregoing, Plaintiff Rothberg and the New York Subclass members also seek actual damages or

statutory damages of $50 per violation, whichever is greater, as well as punitive damages. N.Y.

Gen. Bus. Law § 349(h).

       410.   Therefore, Plaintiff Rothberg prays for relief as set forth below.

                         TWENTY-FIRST CLAIM FOR RELIEF
  Violation of New York’s Consumer Protection from Deceptive Acts and Practices Act,
                                 N.Y. Gen. Bus. Law § 350
       By Plaintiff Rothberg on Behalf of the New York Subclass Against All Defendants

       411.   Plaintiff David Rothberg reasserts the allegations set forth in paragraphs 1

through 143 and incorporates such allegations by reference herein.

       412.   Plaintiff Rothberg brings this claim on behalf the New York Subclass against

Defendants for violation of New York General Business Law section 350.

       413.   Section 350 prohibits “[f]alse advertising in the conduct of any business, trade or

commerce or in the furnishing of any service.” N.Y. Gen. Bus. Law § 350.



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        414.    New York General Business Law section 350-a defines “false advertising” as

“advertising, including labeling, of a commodity, or of the kind, character, terms or conditions of

any employment opportunity if such advertising is misleading in a material respect.” N.Y. Gen.

Bus. Law § 350-a. The section also provides that advertising can be false by omission, as it

further defines “false advertising” to include “advertising [that] fails to reveal facts material in

the light of such representations with respect to the commodity . . . to which the advertising

relates.” Id.

        415.    Defendants’ labeling, marketing, and advertising of the Products, as alleged

herein, are “misleading in a material respect,” and thus “false advertising,” as they falsely

represent all of the Products are derived from cows that were treated humanely, when, in fact,

Defendants’ lack of oversight allowed cows to be treated inhumanely and contrary to

Defendants’ Animal Welfare Promises and branding of the Products as “fairlife.”

        416.    Plaintiff Rothberg seeks an order enjoining Defendants from continuing this false

advertising. Absent enjoining this false advertising, Defendants will continue to mislead Plaintiff

Rothberg and the New York Subclass members as to whether the Products were derived from

cows that were treated humanely and, in doing so, irreparably harm each of the New York

Subclass members.

        417.    As a direct and proximate result of Defendants’ violation of New York General

Business Law section 350, Plaintiff Rothberg and the New York Subclass members have also

suffered an ascertainable loss of monies. By reason of the foregoing, Plaintiff Rothberg and the

New York Subclass members also seek actual damages or statutory damages of $500 per

violation, whichever is greater, as well as punitive damages. N.Y. Gen. Bus. Law § 350-e(3).

        418.    Therefore, Plaintiff Rothberg prays for relief as set forth below.




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                        TWENTY-SECOND CLAIM FOR RELIEF
    Violation of Pennsylvania’s Unfair Trade Practices and Consumer Protection Law,
                              73 Pa. Stat. Ann. § 201-1, et seq.
     By Plaintiff Hamilton on Behalf of the Pennsylvania Subclass Against All Defendants

       419.      Plaintiff Karai Hamilton reasserts the allegations set forth in paragraphs 1 through

143 and incorporates such allegations by reference herein.

       420.      Plaintiff Hamilton brings this claim on behalf of the Pennsylvania Subclass

against Defendants for violation of Pennsylvania’s Unfair Trade Practices and Consumer

Protection Law, 73 Pa. Stat. Ann. § 201-1 et seq.

       421.      Plaintiff Hamilton and the Pennsylvania Subclass members purchased goods and

services in “trade” and “commerce,” as meant by Pennsylvania Statutes title 73, section 201-

2(3), primarily for personal, family, and/or household purposes.

       422.      Defendants engaged in unfair methods of competition and unfair or deceptive acts

or practices in the conduct of trade and commerce in violation of Pennsylvania Statutes title 73,

section 201-3, including the following:

                i.      representing that goods have characteristics, uses, benefits, and qualities
                        that they do not have, 73 Pa. Stat. Ann. § 201-2(4)(v);

               ii.      representing that goods are of a particular standard or quality if they are
                        another, 73 Pa. Stat. Ann. § 201-2(4)(vii); and

              iii.      advertising goods and services with intent not to sell them as advertised,
                        73 Pa. Stat. Ann. § 201-2(4)(ix).

       423.      Defendants’ Animal Welfare Promises and branding of the Products as “fairlife,”

including Defendants’ representations and omissions, were material because they were likely to

deceive reasonable consumers.

       424.      Despite Defendants Animal Welfare Promises and naming of the Products as

“fairlife,” Defendants did not have sufficient oversight to ensure that those promises were kept.




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As a result, dairy cows were not treated in the manner in which consumers were promised when

purchasing the Products.

       425.    As a direct and proximate result of Defendants’ deceptive acts and practices,

Plaintiff Hamilton and the Pennsylvania Subclass members have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including from not receiving the benefit of their bargain in purchasing the Products.

       426.    Plaintiff Hamilton and the Pennsylvania Subclass members seek all monetary and

non-monetary relief allowed by law, including actual damages or statutory damages of $100

(whichever is greater), treble damages, attorneys’ fees and costs, and any additional relief the

Court deems necessary or proper.

       427.    Therefore, Plaintiff Hamilton prays for relief as set forth below.

                          TWENTY-THIRD CLAIM FOR RELIEF
         Violation of Texas’s Deceptive Trade Practices-Consumer Protection Act,
                          Tex. Bus. & Com. Code Ann. § 17.41, et seq.
    By Plaintiffs Velez and Hamilton on Behalf of the Texas Subclass Against All Defendants

       428.    Plaintiffs Arnetta Velez and Karai Hamilton reassert the allegations set forth in

paragraphs 1 through 143 and incorporate such allegations by reference herein.

       429.    Plaintiffs bring this claim on behalf of the Texas Subclass against Defendants for

violation of Texas’s Deceptive Trade Practices-Consumer Protection Act, Tex. Bus. & Com.

Code Ann. § 17.41, et seq. (“TDTPA”).

       430.    Under the TDTPA, “trade” and “commerce” mean “the advertising, offering for

sale, sale, lease, or distribution of any good or service, of any property, tangible or intangible,

real, personal, or mixed, and any other article, commodity, or thing of value, wherever situated,

and shall include any trade or commerce directly or indirectly affecting the people of this state.”

Tex. Bus. & Com. Code Ann. § 17.45(6).



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       431.    Defendants engaged in trade and commerce within the meaning of the TDTPA

when they advertised, distributed, and sold the Products, and when they offered the Products for

sale, to Plaintiff Velez and Hamilton and the members of the Texas Subclass.

       432.    The TDTPA prohibits “[f]alse, misleading, or deceptive acts or practices in the

conduct of any trade or commerce.” Tex. Bus. & Com. Code Ann. § 17.46(a).

       433.    Under the TDTPA, the term “false, misleading, or deceptive acts or practices”

includes the following acts:

       (2) causing confusion or misunderstanding as to the source, sponsorship,
       approval, or certification of goods or services;

       ...

       (5) representing that goods or services have sponsorship, approval, characteristics,
       ingredients, uses, benefits, or quantities which they do not have or that a person
       has a sponsorship, approval, status, affiliation, or connection which the person
       does not;

       ...

       (7) representing that goods or services are of a particular standard, quality, or
       grade, or that goods are of a particular style or model, if they are of another;

       ...

       (9) advertising goods or services with intent not to sell them as advertised;

       ...

       (20) representing that a guaranty or warranty confers or involves rights or
       remedies which it does not have or involve . . . ;

       ...

       (24) failing to disclose information concerning goods or services which was
       known at the time of the transaction if such failure to disclose such information
       was intended to induce the consumer into a transaction into which the consumer
       would not have entered had the information been disclosed . . . .

Tex. Bus. & Com. Code Ann. § 17.46(b)(2), (5), (7), (9), (20), (24).



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       434.    Defendants’ misrepresentations included those on the labels of the Products,

themselves, and were designed to be read and understood by each and every consumer that

purchased the Products.

       435.    The misrepresentations were material, because they went directly to the quality

and nature of the Products, themselves, as promising buyers a way to purchase dairy products

while at the same time ensuring that the entities who produce the dairy products prioritize animal

welfare.

       436.    Consumers who purchased the Products purchased them because of the

misrepresentations and were willing to pay more to guarantee that the entities who were in the

business of creating the Products ensured the safety, health, and well-being of their dairy cows.

       437.    The misrepresentations on the Products were and are material and Texas Subclass

members purchased the Products in reliance on those misrepresentations.

       438.    By engaging in the actions, misrepresentations, and misconduct set forth herein,

Defendants violated, and continue to violate, each provision of the TDTPA set forth in the

preceding paragraph.

       439.    Defendants’ violations of the TDTPA were committed knowingly and

intentionally as the TDTPA defines those terms in section 17.45(9) and (13), respectively.

       440.    Defendants knew or should have known their representations about the Products

were false and misleading for the reasons detailed above.

       441.    Plaintiffs Velez, Hamilton, and the Texas Subclass members relied on

Defendants’ violations of section 17.46(b)(2), (5), (7), (9), (20), and (24) to their detriment.

Plaintiffs Velez, Hamilton, and the Texas Subclass members would not have purchased the

Products had they known that Defendants’ representations, including the Animal Welfare




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Promises and name “fairlife,” were false and misleading, as detailed herein.

       442.    Plaintiffs Velez and Hamilton bring this claim pursuant to section 17.50(a)(1) of

the TDTPA on account of Defendants’ use and/or employment of false, misleading, and

deceptive acts or practices as detailed above.

       443.    Plaintiffs Velez and Hamilton also bring this claim pursuant to section 17.50(a)(2)

of the TDTPA on account of Defendants’ breaches of their express warranties, as detailed herein.

       444.    Plaintiffs Velez and Hamilton also bring this claim pursuant to section 17.50(a)(3)

of the DTPA because Defendants’ course of conduct set forth herein is unconscionable.

       445.    Defendants’ conduct as described herein and throughout was uniform: they made

uniform, on-the-label representations on Products concerning animal welfare, when, in reality, it

could not even guarantee that animals at their “flagship farm” were treated in accordance with

Defendants’ Animal Welfare Promises.

       446.    Plaintiffs Velez and Hamilton seek, individually and on behalf of the Texas

Subclass members, economic damages in an amount to be determined at trial and treble

economic damages on account Defendants’ knowing and intentional conduct, along with

reasonable attorney’s fees and costs and such other and further relief that the Court deems just

and proper. See Tex. Bus. & Com. Code Ann. § 17.50(b)(1), (b)(3), (b)(4), (d).

       447.    Plaintiffs Velez and Hamilton request, individually and on behalf of the Texas

Subclass members, that the Court enjoin Defendants from continuing to employ the unlawful

methods, acts, and practices alleged herein. If Defendants are not restrained from engaging in

these types of practices in the future, Plaintiffs Velez and Hamilton and the Texas Subclass

members will be harmed in that they will continue to be unable to rely on Defendants’

representations about the Products set forth above. See Tex. Bus. & Com. Code Ann. §




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17.50(b)(2).

       448.      Therefore, Plaintiffs Velez and Hamilton pray for relief as set forth below.

                         TWENTY-FOURTH CAUSE OF ACTION
                 Violation of the Virginia Consumer Protection Act of 1977,
                               Va. Code Ann. § 59.1-196, et seq.
  By Plaintiffs Parlow and Tsiptsis on Behalf of the Virginia Subclass Against All Defendants

       449.      Plaintiffs Christina Parlow and Demetrios Tsiptsis reassert the allegations set

forth in paragraphs 1 through 143 and incorporate such allegations by reference herein.

       450.      Plaintiffs Parlow and Tsiptsis bring this claim on behalf of the Virginia Subclass

against Defendants for violation of the Virginia Consumer Protection Act of 1977, Va. Code

Ann. § 59.1-196, et seq.

       451.      Defendants are each a “supplier,” as defined by Virginia Code section 59.1-198.

       452.      Defendants engaged in the complained-of conduct in connection with “consumer

transactions” with regard to “goods,” as defined by Virginia Code section 59.1-198. Defendants

advertised, offered, or sold goods used primarily for personal, family or household purposes.

       453.      Under the Virginia Consumer Protection Act of 1977:

       The following fraudulent acts or practices committed by a supplier in connection
       with a consumer transaction are hereby declared unlawful:

           ...

           5. Misrepresenting that goods or services have certain quantities,
           characteristics, ingredients, uses, or benefits;

           6. Misrepresenting that goods or services are of a particular standard,
           quality, grade, style, or model;

           ...

           8. Advertising goods or services with intent not to sell them as advertised,
           or with intent not to sell at the price or upon the terms advertised.

           . . . [and]



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           14. Using any other deception, fraud, false pretense, false promise, or
           misrepresentation in connection with a consumer transaction . . . .

Va. Code Ann. § 59.1-200(A)(5), (6), (8), (14).

       454.    Defendants engaged in deceptive acts and practices by using deception, fraud,

false pretense, false promise, and misrepresentation, including, but not limited to, Defendants’

Animal Welfare Promises and branding of the Products as “fairlife,” in connection with

consumer transactions, as described herein, in violation of each of the provisions set forth in the

preceding paragraph.

       455.    Defendants’ representations and omissions were material because they were likely

to deceive reasonable consumers.

       456.    Defendants’ made the misrepresentations because consumers purchased the

particular Products given the representations made about the ethical treatment of dairy cows.

But Defendants made these representations without any mechanism in place—or intention to

develop such mechanism—to ensure that those practices were being followed as described to

Plaintiffs and the Virginia Subclass.

       457.    As a direct and proximate result of Defendants’ deceptive acts and practices, the

Plaintiffs Parlow, Tsiptsis and the Virginia Subclass members have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including from not receiving the benefit of their bargain in purchasing the Products.

       458.    Defendants’ violations present a continuing risk of injury to Plaintiffs Parlow,

Tsiptsis and the Virginia Subclass members, as well as to the general public.

       459.    Plaintiffs Parlow, Tsiptsis and the Virginia Subclass members seek all monetary

and non-monetary relief allowed by law, including actual damages; statutory damages in the




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amount of $1,000 per violation if the conduct is found to be willful or, in the alternative, $500

per violation, restitution, injunctive relief, punitive damages, and attorneys’ fees and costs.

       460.    Therefore, Plaintiffs Parlow and Tsiptsis pray for relief as set forth below.

                           TWENTY-FIFTH CLAIM FOR RELIEF
                 Wisconsin Prohibition on Unfair Methods of Competition
                                   Wis. Stat. § 100.20, et seq.
          By Plaintiff Birt on Behalf of the Wisconsin Subclass Against All Defendants

       461.    Plaintiff Terri Birt reasserts the allegations set forth in paragraphs 1 through 143

and incorporates such allegations by reference herein.

       462.    Plaintiff Birt brings this claim on behalf of the Wisconsin Subclass against

Defendants pursuant to Wisconsin Statutes section 100.20.

       463.    Under Wisconsin Statutes section 100.20(1):

       Methods of competition in business and trade practices in business shall be fair.
       Unfair methods of competition in business and unfair trade practices in business
       are hereby prohibited.

       464.    Under Wisconsin Statutes section 100.20(2)(a), the Wisconsin Department of

Agriculture, Trade, and Consumer Protection “may issue general orders forbidding methods of

competition in business or trade practices in business which are determined by the department to

be unfair.”

       465.    Under Wisconsin Statutes section 100.20(5):

       Any person suffering pecuniary loss because of a violation by any other person of
       . . . any order issued under this section may sue for damages therefor in any court
       of competent jurisdiction and shall recover twice the amount of such pecuniary
       loss, together with costs, including a reasonable attorney fee.

       466.    The statutory note to Wisconsin Administrative Code, Chapter ATCP 90 (“Fair

Packaging and Labeling”) states:

       This chapter is adopted under authority of . . . [ss.] 100.20 (2), Stats. Violations of
       this chapter are subject to the penalties and remedies provided under . . . [ss.]



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       100.20 (5) and (6), and 100.26 (3) and (6), Stats.

       467.    Under Wisconsin Administrative Code section ATCP 90.10(1):

       Except for meat and poultry products under sub. (2), food sold or distributed for
       sale in this state shall be labeled in compliance with applicable rules adopted by
       the United States food and drug administration under 21 CFR 101, 102, 104, 105
       and 130.

       468.    Under the Federal Food, Drug and Cosmetic Act, 21 U.S.C. § 301 et seq., “[a]

food shall be deemed to be misbranded” if “its labeling is false or misleading in any particular.”

21 U.S.C. § 343(a)(1).

       469.    As fully alleged above, Defendants violated § 343(a)(1), Wisconsin

Administrative Code section ATCP 90.10(1), and Wisconsin Statutes section 100.20 by falsely

and misleadingly labeling and marketing the Products sold to Plaintiff Birt and the Wisconsin

Subclass members.

       470.    Plaintiff Birt and the Wisconsin Subclass members would not have purchased the

Products had they known that contrary to Defendants’ Animal Welfare Promises and

Defendants’ representations, Defendants were unable to ensure that the cows from which the

Products were derived were, in fact, treated humanely.         As is demonstrated by ARM’s

investigation, Defendants failed to ensure that dairy cows were treated in accordance with its

Animal Welfare Promises and name “fairlife.”

       471.    Plaintiff Birt and the Wisconsin Subclass members seek twice the amount of their

pecuniary losses, together with costs and attorneys’ fees, pursuant to Wisconsin Statutes section

100.20(5).

       472.    Plaintiff Birt and the Wisconsin Subclass members seek to enjoin such unlawful

acts and practices as described above. Each of the Wisconsin Subclass members will be

irreparably harmed unless the Court enjoins Defendants’ unlawful actions, in that Plaintiff Birt



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and the Wisconsin Subclass members will continue to be unable to rely on Defendants’

representations that the Products are derived from cows that were treated humanely.

       473.    Plaintiff Birt and the Wisconsin Subclass members seek declaratory relief;

restitution for monies wrongfully obtained, disgorgement of ill-gotten revenues and/or profits;

injunctive relief; and any and all other relief allowable under Wisconsin Statutes section 100.20.

       474.    Therefore, Plaintiff Birt prays for relief as set forth below.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of the members of each of the

Classes described in this Complaint, respectfully request the Court to enter an Order:

       A.      certifying the proposed Class and Subclasses under Federal Rule of Civil

Procedure 23(a), (b)(2), and (b)(3), and, in the alternative, (c)(4) as set forth above;

       B.      declaring that Defendants are financially responsible for notifying the Class

members of the pendency of this suit;

       C.      declaring that Defendants have committed the violations of law alleged herein;

       D.      providing for any and all injunctive relief the Court deems appropriate;

       E.      awarding statutory damages in the maximum amount for which the law provides;

       F.      awarding monetary damages, including but not limited to any compensatory,

incidental, or consequential damages in an amount that the Court or jury will determine, in

accordance with applicable law;

       G.      providing for any and all equitable monetary relief the Court deems appropriate;

       H.      awarding punitive or exemplary damages in accordance with proof and in an

amount consistent with applicable precedent;

       I.      awarding Plaintiffs their reasonable costs and expenses of suit, including




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attorneys’ fees;

       J.      awarding pre- and post-judgment interest to the extent the law allows; and

       K.      providing such further relief as this Court may deem just and proper.




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                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs hereby demand a

trial by jury on all claims so triable.

Date: June 25, 2020                            Respectfully submitted,

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